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                   EXHIBIT A
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

  AZURITY PHARMACEUTICALS, INC.,

                        Plaintiff,                      C.A. No. 21-1286-LPS
                                                        C.A. No. 21-1455-LPS
         v.

  BIONPHARMA INC.,

                        Defendant.


                    DEFENDANT BIONPHARMA’S FIRST SET OF
              REQUESTS FOR PRODUCTION OF DOCUMENTS AND THINGS

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant

 Bionpharma Inc. (“Bionpharma”), submits its First Set of Requests for Production of Documents

 and Things directed to Plaintiff Azurity Pharmaceuticals, Inc. (“Plaintiff” or “Azurity”), and

 request that Plaintiff produce the documents and things requested herein within thirty (30) days

 of service to the offices of Taft, Stettinius & Hollister LP, 111 E. Wacker Drive, Suite

 2800, Chicago, IL 60601, or at such other time and place as may be mutually agreed upon by

 the parties, in accordance with the instructions and definitions below.

                            DEFINITIONS AND INSTRUCTIONS

        Bionpharma hereby incorporates by reference, as though fully set forth herein, the

 Definitions and Instructions in Bionpharma’s First Set of Requests for the Production of

 Documents and Things (Nos. 1-91), and in Bionpharma’s First Set of Interrogatories (No. 1), both

 served November 20, 2019 in connection with the Silvergate Pharmaceuticals, Inc. v. Bionpharma

 Inc., C.A. Nos. 18-1962 and 19-1067 (D. Del.) cases.




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         SUPPLEMENTAL DEFINITIONS

         1.     The term “Alkem” means to Alkem Laboratories Ltd., as well as any related

 entities, partners, corporate parent, subsidiaries, affiliates, predecessors in interest, successors-in-

 interest, as well as any of their present or former officers, directors, employees, agents,

 representatives, attorneys and each person acting or purporting to act on their behalf. Alkem also

 means the defendant in Silvergate Pharmaceuticals, Inc. v. Alkem Laboratories Ltd., Case No. 19-

 cv-2100 (D. Del.), and any other Related Patent Litigation.

         2.     The term “Amneal” means Amneal Pharmaceuticals LLC, as well as any related

 entities, partners, corporate parent, subsidiaries, affiliates, predecessors in interest, successors-in-

 interest, as well as any of their present or former officers, directors, employees, agents,

 representatives, attorneys and each person acting or purporting to act on their behalf. Amneal also

 means the defendant Amneal in Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals

 LLC., CA No. 19-cv-678 (D. Del.); Silvergate Pharmaceuticals, Inc. v. Amneal Pharmaceuticals

 LLC, CA No. 20-cv-01255 (D. Del.), and any other Related Patent Litigation.

         3.     The term “Annora” means to Annora Pharma Private Limited, as well as any related

 entities, partners, corporate parent, subsidiaries, affiliates, predecessors in interest, successors-in-

 interest, as well as any of their present or former officers, directors, employees, agents,

 representatives, attorneys and each person acting or purporting to act on their behalf. Annora also

 means the defendant in Silvergate Pharmaceuticals, Inc. v. Annora Pharma Private Limited, Case

 No. 20-cv-753 (D. Del.) and Silvergate Pharmaceuticals, Inc. v. Annora Pharma Private Limited,

 Case No. 21-cv-196 (D. Del.), and any other Related Patent Litigation.

         4.     The term “Aurobindo” means Aurobindo Pharma Ltd. and/or Aurobindo Pharma

 USA, Inc., as well as any related entities, partners, corporate parent, subsidiaries, affiliates,

 predecessors in interest, successors-in-interest as well as any of their present or former officers,
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 directors, employees, agents, representatives, attorneys and each person acting or purporting to act

 on their behalf. The term “Aurobindo” also means the defendants in Azurity Pharmaceuticals,

 Inc. v. Aurobindo Pharma Ltd., CA No. 21-cv-1707 (D. Del.), and any other Related Patent

 Litigation.

        5.      The term “Azurity” means Plaintiff Azurity Pharmaceuticals, Inc., and (i) all

 respective predecessors-in interest and successors-in-interest, including but not limited to

 CutisPharma, Inc. and Silvergate Pharmaceuticals, Inc.; (ii) all respective past or present corporate

 parents, subsidiaries, affiliates, divisions, officers, directors, employees, agents, consultants,

 investigators, attorneys, and representatives; (iii) any other person acting on their behalf or on

 whose behalf they have acted or are acting; or (iv) any other person or entity otherwise subject to

 their control or which controls or controlled them. Where applicable, this definition shall include

 all persons having a former or current ownership interest in any of the Enalapril Liquid Patents or

 Related Patent Application(s).

        6.      The term “Azurtiy-CoreRx LSA” shall mean the Litigation Settlement Agreement

 between Azurity and CoreRx.

        7.      The term “CoreRx” means to CoreRx, Inc., as well as any related entities, partners,

 corporate parent, subsidiaries, affiliates, predecessors in interest, successors-in-interest, including

 but not limited to NovaQuest Capital Management, etc. as well as any of CoreRx’s present or

 former officers, directors, employees, agents, representatives, attorneys and each person acting or

 purporting to act on their behalf. CoreRx also means defendant CoreRx in Azurity Pharm., Inc. v.

 CoreRx, Inc., C.A. No. 21-1522-LPS (D. Del.); Azurity Pharm., Inc. v. CoreRx, Inc., C.A. No.

 8:21-cv-2515 (M.D. Fla.) and any other case related to Epaned.




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           8.    The Term “Enalapril Liquid Patents” means, collectively, the First, Second, and

 Third Wave Patents.

           9.    The term “First Wave Patents” means ’008, ’442, ’745, and ’987 patents.

           10.   The term “First Wave Suits” means Silvergate Pharmaceuticals, Inc. v.

 Bionpharma Inc., C.A. Nos. 18-1962 and 19-1067 (D. Del.).

           11.   The term “MMSA” shall mean the November 2020 Master Manufacturing Supply

 Agreement between Bionpharma and CoreRx.

           12.   The term “NovaQuest” means to NovaQuest Capital Management LLC, Inc., as

 well as any related entities, partners, corporate parent, subsidiaries, affiliates, predecessors in

 interest, successors-in-interest as well as any of their present or former officers, directors,

 employees, agents, representatives, attorneys and each person acting or purporting to act on their

 behalf.

           13.   The term “Plaintiff” means Azurity, as well as any related entities, partners,

 corporate parent, subsidiaries, affiliates, predecessors in interest, successors-in-interest, including

 but not limited to CutisPharma, Inc. and Silvergate Pharmaceuticals, Inc., etc. as well as any of

 their present or former officers, directors, employees, agents, representatives, attorneys and each

 person acting or purporting to act on their behalf. Where applicable, this definition shall include

 all persons having a former or current ownership interest in any of the Enalapril Liquid Patents or

 Related Patent Application(s).

           14.   The term “Related Patent Applications” means any and all patent applications or

 patents (U.S. and foreign) corresponding to, or claiming priority from, the Enalapril Liquid Patents

 whether or not abandoned and whether or not issued, or to which the Enalapril Liquid Patents,




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 whether or not abandoned and whether or not issued, claim priority or any and all applications or

 patents (U.S. and foreign) directed to enalapril liquids.

        15.     The term “Related Patent Litigation” means any lawsuit filed by or against Plaintiff

 or any other entity or person concerning or relating to any enalapril solution, Epaned and/or the

 Enalapril Liquid Patents or Related Patent Applications.

        16.     The term “Second Wave Patents” means U.S. Patent Nos. 10,786,482 B2 (“’482

 patent”); 10,918,621 B2 (“’621 patent”); 10,772,868 B2 9 (“’868 patent”)

        17.     The term “Second Wave Suit” means Silvergate Pharmaceuticals, Inc. v.

 Bionpharma Inc., C.A. No. 20-1256 (D. Del.).

        18.     The term “Third Wave Patents” means U.S. Patent Nos. 11,040,023 B2 (“’023

 patent”) and 11,141,405 (“’405 patent”).

        19.     The term “Third Wave Suits” means instant actions, Azurity Pharmaceuticals, Inc.

 v. Bionpharma Inc., C.A. Nos. 21-1286-LPS, 21-1455-LPS (D. Del.).

                                REQUESTS FOR PRODUCTION

        1.      All documents and things concerning U.S. Patent Application No. 16/991,575 (’621

 patent) including any applications, prosecution history, prior art, documents and things authored

 by any inventors of this patent application, and communications with the PTO or FDA regarding

 this patent application.

        2.      All documents and things concerning U.S. Patent Application No. 17/150,587 (’023

 patent) including any applications, prosecution history, prior art, documents and things authored

 by any inventors of this patent application, and communications with the PTO or FDA regarding

 this patent application.




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        3.      All documents and things concerning U.S. Patent Application No. 17/228,024 (’405

 patent) including any applications, prosecution history, prior art, documents and things authored

 by any inventors of this patent application, and communications with the PTO or FDA regarding

 this patent application.

        4.      All documents and things concerning any discussion, consideration or decision by

 Plaintiff regarding whether to file, re-file, or prosecute any patent application relating to the

 Enalapril Liquid Patents and/or Related Patent Applications.

        5.      All references cited or referred to during the prosecution of the Second Wave

 Patents, Third Wave Patents, or Related Patent Applications, including all references cited on the

 face of the Second Wave Patents and Third Wave Patents.

        6.      All documents and things concerning any prior use, patent, publication, or other

 prior art that was cited, referred to, or relied upon, during the prosecution of the Second Wave

 Patents, Third Wave Patents, or Related Patent Applications.

        7.      All documents and things concerning any communications, patent office filings, or

 judicial or regulatory filings concerning Second Wave Patents, Third Wave Patents, or Related

 Patent Applications.

        8.      All documents, communications and things relating to the Examples set forth in the

 Enalapril Liquid Patents, Related Patent Applications, and any declarations, including but not

 limited to declarations from inventor(s) of the Enalapril Liquid Patents and Related Patent

 Applications, submitted to the USPTO, including but not limited to, all data relating to any testing

 and any laboratory notebooks related to the Examples.

        9.      All documents and things concerning any novelty, patentability, validity,

 infringement, state-of-the-art, unenforceability or right-to-use search, investigation, report,



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 opinion, study, or analysis, whether formal or informal, that relates to the Second Wave Patents or

 to the Third Wave Patents.

        10.      All documents supporting or undermining any assertions of secondary

 considerations of non-obviousness that Plaintiff intends to raise, intended to raise, or have raised

 in the Third Wave Suits, including but not limited to, proof of nexus, profit margins and marketing

 expenditures.

        11.      Documents sufficient to show the ownership interest of NovaQuest in Azurity and

 CoreRx.

        12.      Documents sufficient to show organizational structure of, and corporate

 relationship between, Azurity, NovaQuest, and CoreRx.

        13.      Documents sufficient to show the ownership of Azurity, NovaQuest, and CoreRx.

        14.      All   documents     and    things       concerning   relationships,   agreements,   and

 communications between Azurity and either NovaQuest or CoreRx or both (or any affiliate or

 subsidiary thereof) as they relate to the Enalapril Liquid Patents, Related Patent Applications,

 Epaned, and/ or NDA No. 208686.

        15.      Any settlement agreements between Azurity and either NovaQuest or CoreRx or

 both (or any affiliate or subsidiary thereof) as they relate to Enalapril Liquid Patents, Related Patent

 Applications, Epaned, and/or NDA No. 208686.

        16.      All documents and things referring or relating to or constituting any assignment,

 license, contract, authorization, agreement, stipulation, settlement, or negotiations involving

 Plaintiff in regard to any legal right to any of the Enalapril Liquid Patents or Related Patent

 Applications, or to any legal right to any of the alleged inventions or products referred to in




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 Plaintiff’s Complaint in the Third Wave Suits, including, but not limited to, enalapril solution

 and/or Epaned.

        17.     All documents and things referring or relating to or constituting any assignment,

 license, contract, authorization, agreement, stipulation, settlement, or negotiations involving

 Plaintiff and Amneal, Aurobindo, Annora, and/or Alkem in regard to any legal right to any of the

 Enalapril Liquid Patents or Related Patent Applications, or to enalapril solution and/or Epaned.

        18.     All documents and things concerning any relationship that exists or has existed

 between Azurity and any other defendant in the Related Epaned Litigations pertaining to enalapril

 and/or any of the Enalapril Liquid Patents, including, but not limited to, any co-marketing

 agreements or authorized generic agreements.

        19.     All documents and things referring or relating to any valuations of the

 indemnification granted by Azurity to CoreRx in the settlement agreement between Azurity and

 CoreRx regarding Third Wave Patents.

        20.     All documents and things concerning the Azurity-CoreRx LSA, including any

 drafts of the Azurity-CoreRx LSA.

        21.     All documents and communications relating to actual or potential generic

 competition to Epaned.

        22.     All documents and communications with NovaQuest relating to Bionpharma,

 Bionpharma’s ANDA Product, or any actual or potential competition to Epaned.

        23.     All documents and communications with NovaQuest relating to CoreRx’s

 relationship with Bionpharma, including documents and communications pertaining to the

 MMSA.




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         24.     All documents and communications with CoreRx relating to generic competition

  to Epaned, the Enalapril Liquid Patents, Bionpharma’s ANDA Product, the MMSA, the Azurity-

  CoreRx LSA, NovaQuest, and any other enalapril ANDA filer.

         25.     All documents and communications relating to generic competition to Epaned, the

  Enalapril Liquid Patents, Bionpharma’s ANDA Product, CoreRx, the Azurity-CoreRx LSA,

  NovaQuest, and any other ANDA filer, to or from any board member, past or present, of CoreRx,

  including Messrs. Nailesh Bhatt, Vern Davenport, Jeff Edwards, and Frank Leo.

         26.     All documents and communications relating to generic competition to Epaned, the

  Enalapril Liquid Patents, Bionpharma’s ANDA Product, CoreRx, the Azurity-CoreRx LSA,

  NovaQuest, and any other ANDA filer, to or from any board member, past or present, of Azurity,

  including Messrs. Nailesh Bhatt, Richard Blackburn, Vern Davenport, Jeff Edwards, Frank Leo,

  Amit Patel, and Dave Ritchie.

         27.     All documents and things, including communications between Azurity and

  NovaQuest, relating to NovaQuest’s decision, negotiation, or agreement to take an ownership

  interest in CoreRx.

         28.     All documents, communications, and things relating to Azurity’s decision to sue

  CoreRx for alleged infringement of Third Wave Patents.

         29.     All documents, communications, and things between Azurity and NovaQuest

  relating to Azurity’s decision to sue CoreRx for alleged infringement of Third Wave Patents.

         30.     All documents and things pertaining to Azurity’s decision to voluntarily dismiss

  Azurity Pharmaceuticals, Inc. v. CoreRx, Inc., C.A. No. 21-1522-LPS (D. Del.) and Azurity

  Pharmaceuticals, Inc. v. CoreRx, Inc., C.A. No. 21-2515-VMC-SPF (M.D. Fla.).




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         31.      All documents and things related to Plaintiff’s sales and marketing expenditure for

  Epaned.

         32.      All sales data relating to Epaned generated or dating from the first day of

  commercial sale of the product to the present.

         33.      All profit and sales projections for Epaned.

         34.      All profit and sales projections for Epaned taking into account any contemplated or

  actual generic competition to Epaned.

         35.      All documents and things concerning the projected and/or actual damages to

  Azurity caused by launch of Bionpharma’s ANDA Product.

         36.      All documents and things concerning the projected and/or actual damages to

  Azurity caused by launch of Annora’s ANDA Product.

         37.      All documents and things concerning the projected and/or actual damages to

  Azurity caused by the launch of any enalapril liquid generic to Epaned.

         38.      All documents since the first commercial launch of Epaned sufficient to describe

  the gross and net sales, market share, gross and net profits; sales and profit forecasts; advertising,

  promotion, presentation, description, and/or explanation of Epaned, including, but not limited to,

  materials concerning market research regarding Epaned, customer/physician surveys, sales

  representative materials, and all market analyses.

         39.      All documents and things sufficient to show actual gross and net profits from

  Epaned sales.

         40.      All documents and communications (including from consultants, market analysts,

  attorneys, or other third parties), including any opinions of counsel, concerning the strength(s) or




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  weakness(es) of any of the Enalapril Liquid Patents and/or the merits or expected outcome of any

  of the First Wave Suits, Second Wave Suit, Third Wave Suits and/or Related Patent Litigations.

         41.      All documents and things concerning any opinions of counsel concerning any of

  the Enalapril Liquid Patents, the First Wave Suits, the Second Wave Suit, the Third Wave Suits,

  and/or Related Patent Litigations.

         42.      All documents and things concerning the value of, damages for infringement,

  and/or royalties for licenses in connection with Enalapril Liquid Patents and Related Patent

  Applications.

         43.      All documents and things concerning the value of, damages for infringement,

  and/or royalties for licenses in connection with the Third Wave Patents.

         44.      Documents sufficient to identify each drug that competes with Epaned.

         45.      Documents sufficient to identify each hypertension treatment that competes with

  Epaned.

         46.      Documents sufficient to identify each symptomatic heart failure treatment that

  competes with Epaned.

         47.      Documents sufficient to identify each asymptomatic left ventricular dysfunction

  treatment that competes with Epaned.

         48.      Documents sufficient to describe the cost, availability, and distribution of any

  product or treatment that competes with Epaned or is used to treat hypertension, symptomatic heart

  failure, and/or symptomatic heart failure.

         49.      All documents and things relating to the gross and net sales, market share, gross

  and net profits; sales and profit forecasts; advertising, promotion, presentation, description, and/or




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  explanation of any product or treatment that competes with Epaned or is used to treat hypertension,

  symptomatic heart failure, and/or symptomatic heart failure.

         50.     Documents sufficient to show the pricing, whether proposed, offered or actual, of

  all marketed dosages and forms of Epaned.

         51.     All documents and things relating to any price changes considered or implemented

  for Epaned in response to any perceived or actual competition.

         52.     All strategic planning documents for Epaned, including each marketing plan, 5-

  year plan, or market analysis for Epaned, and any documents or communications concerning such

  strategic planning documents.

         53.     All documents relating to any market in which Epaned competes, including all

  documents relating to the market share of Epaned and/or any product or therapy that actually or

  potentially competes with Epaned, any competitive analysis of any product or therapy that actually

  or potentially competes with Epaned, and the impact (including impact on sales (in dollars or unit

  volume) and/or profits) on Azurity of any product or therapy that actually or potentially competes

  with Epaned.

         54.     All documents concerning the advertising, promotion or marketing of Epaned,

  including but not limited to, advertisements, drafts of advertisements, market research, advertising

  budgets, results of focus groups or consumer surveys, letters to healthcare providers and direct-to-

  consumer advertising.

         55.     One copy of each detail aid, visual aid, product monograph and/or piece of

  promotional or professional literature used by Plaintiff’s representatives to detail or promote

  Epaned to physicians and/or other health care professionals.




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         56.     All detail and/or sample audits, including but not limited to IMS data, relating to

  Epaned.

         57.     Any market research, physician surveys, or prescriptions data analysis for Epaned

  or for any treatment that competes with Epaned or that is used to treat hypertension, symptomatic

  heart failure, and/or symptomatic heart failure.

         58.     All studies, analyses, compilations or reports of physicians’ impressions or

  opinions concerning Epaned.

         59.     All analyses, memoranda, charts, studies or other data recording or reporting the

  market share of Epaned, whether actual or projected.

         60.     All documents and things concerning any planned or implemented response to

  generic competition for Epaned.

         61.     All documents and communications relating to strategies or attempts to prevent or

  delay generic competition to Epaned.

         62.     All documents and communications relating to generic competition to Epaned,

  including evaluation of ANDA filers.

         63.     All documents concerning competition for the sale of any enalapril product.

         64.     All documents, communications, and things relating to Azurity’s decision to sue,

  and/or to maintain any suit against, Bionpharma for alleged infringement of First Wave Patents,

  including:

                     a. All documents, communications, and things relating to the merits of

                         Azurity’s claims, including whether any objective basis exists for them.

                     b. All documents, communications, and things relating to the likelihood that

                         Azurity would obtain any relief on its claims;



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                    c. All documents, communications, and things relating to Azurity’s legal and

                         business objectives from asserting the claims, including the effect of this

                         and/or other patent litigations on Bionpharma’s financial ability and/or

                         willingness to defend against the claims; and

                    d. All documents, communications and things relating to the effect of

                         Azurity’s suing, or maintaining any suit, against Bionpharma for alleged

                         infringement of First Wave Patents, including any effect on Azurity’s sales

                         (in dollars or unit volume) or profit margins for Epaned.

         65.     All documents, communications, and things relating to Azurity’s decision to sue,

  and/or to maintain any suit against, Bionpharma for alleged infringement of Second Wave Patents,

  including:

                    a. All documents, communications, and things relating to the merits of

                         Azurity’s claims, including whether any objective basis exists for them.

                    b. All documents, communications, and things relating to the likelihood that

                         Azurity would obtain any relief on its claims;

                    c.   All documents, communications, and things relating to Azurity’s legal and

                         business objectives from asserting the claims, including the effect of this

                         and/or other patent litigations on Bionpharma’s financial ability and/or

                         willingness to defend against the claims; and

                    d. All documents, communications and things relating to the effect of

                         Azurity’s suing, or maintaining any suit, against Bionpharma for alleged

                         infringement of Second Wave Patents, including any effect on Azurity’s

                         sales (in dollars or unit volume) or profit margins for Epaned.



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         66.    All documents, communications, and things relating to Azurity’s decision to sue,

  and to maintain its suit against, Bionpharma for alleged infringement of Third Wave Patents,

  including:

                   a. All documents, communications, and things relating to the merits of

                       Azurity’s claims, including whether any objective basis exists for them.

                   b. All documents, communications, and things relating to the likelihood that

                       Azurity would obtain any relief on its claims;

                   c. All documents, communications, and things relating to Azurity’s legal and

                       business objectives from asserting the claims, including the effect of this

                       and/or other patent litigations on Bionpharma’s financial ability and/or

                       willingness to defend against the claims; and

                   d. All documents, communications and things relating to the effect of

                       Azurity’s suing, or maintaining any suit, against Bionpharma for alleged

                       infringement of Third Wave Patents, including any effect on Azurity’s sales

                       (in dollars or unit volume) or profit margins for Epaned.

         67.    All documents and things referenced in Azurity’s Rule 26(a)(1) disclosures.

         68.    All documents and things Azurity intends to rely on to prove its claims in the Third

  Wave Suits.




  Dated: March 21, 2022

                                                      /s/ Megan C. Haney
                                                      John C. Phillips, Jr. (#110)
                                                      Megan C. Haney (#5016)
                                                      PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                                      1200 North Broom Street

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                                            Attorneys for Defendant
                                            Bionpharma Inc.




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                                CERTIFICATE OF SERVICE

         I, Megan C. Haney, hereby certify that on March 21, 2022, a copy of Defendant
  Bionpharma First Set of Requests for Production of Documents and Things was served upon the
  following counsel of record in the manner indicated below:

  VIA EMAIL

  Jack B. Blumenfeld
  Megan E. Dellinger
  Morris, Nichols, Arsht & Tunnell LLP
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  Wilson Sonsini Goodrich & Rosati
  1700 K Street, NW, Fifth Floor

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  Washington, DC 20006
  jbank@wsgr.com

                                     /s/ Megan C. Haney
                                     Megan C. Haney (No. 5016)




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                   EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF DELAWARE

   AZURITY PHARMACEUTICALS, INC.,

                           Plaintiff,                       C.A. No. 21-1286-LPS
                                                            C.A. No. 21-1455-LPS
           v.

   BIONPHARMA INC.,

                           Defendant.

           DEFENDANT BIONPHARMA’S FIRST SET OF INTERROGATORIES

         Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Defendant

  Bionpharma Inc. (“Bionpharma”), propounds its First Set of Interrogatories directed to Plaintiff

  Azurity Pharmaceuticals, Inc. (“Plaintiff” or “Azurity”) which is to be answered by Plaintiff within

  the time period required by law, or as otherwise agreed to by counsel or ordered by the Court.

                               DEFINITIONS AND INSTRUCTIONS

         Bionpharma hereby incorporates by reference, as though fully set forth herein, the

  Definitions and Instructions set forth in Bionpharma’s First Set of Requests for the Production of

  Documents and Things (Nos. 1-91), and in Bionpharma’s First Set of Interrogatories (No. 1), both

  served November 20, 2019 in connection with the Silvergate Pharmaceuticals, Inc. v. Bionpharma

  Inc., C.A. Nos. 18-1962 and 19-1067 (D. Del.) cases, and the Definitions and Instructions set forth

  in Bionpharma’s First Set of Requests for Production of Documents and Things, served

  concurrently herewith in connection with the instant suits.

                                        INTERROGATORIES

         INTERROGATORY NO. 1.                    For each asserted claim of the Third Wave Patents

  that Plaintiff contends is valid (or not invalid), describe in detail each legal basis and all facts on

  which Plaintiff may rely to support their contention that such asserted claim is valid (or not

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  invalid), including any secondary considerations of nonobviousness, and identify the three persons

  associated with Plaintiff with the most knowledge concerning the facts providing the basis for

  Plaintiff’s contention, and the documents and things on which Plaintiff may rely to support

  Plaintiff’s contention.

         INTERROGATORY NO. 2.                  For each asserted claim of the Third Wave Patents,

  identify whether Plaintiff intends to raise any assertion of secondary considerations of

  nonobviousness in connection with any allegation that such claim is invalid for obviousness, and,

  if so, identify the specific secondary considerations on which Plaintiff intends to rely (i.e.,

  commercial success, long-felt need, failure of others, etc.), all documents supporting Plaintiff’s

  secondary considerations assertions (including but not limited to, in the case of commercial

  success, proof of nexus, profit margins, marketing expenditures, and the like), and the three

  persons associated with Plaintiff with the most knowledge regarding such secondary

  considerations and documents.

         INTERROGATORY NO. 3.                  To the extent that Azurity contends Bionpharma does

  not have a license to the Third Wave Patents under the MMSA, explain in detail the factual and

  legal bases and supporting evidence for Azurity’s contention, including whether and why Azurity

  believes it is not a party to the MMSA, and including whether and why Azurity believes it does

  not fall within the definition of “CoreRx” in the MMSA as an “Affiliate,” as that term is defined

  in Section 1.1 of the MMSA.

         INTERROGATORY NO. 4.                  Describe in detail the relationship between Azurity,

  NovaQuest, and CoreRx, including any ownership interest that NovaQuest has in Azurity and/or

  CoreRx, and the extent of such ownership interest.




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  Dated: March 21, 2022

                                            /s/ Megan C. Haney
                                            John C. Phillips, Jr. (#110)
                                            Megan C. Haney (#5016)
                                            PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                            1200 North Broom Street
                                            Wilmington, DE 19806
                                            (302) 655-4200
                                            jcp@pmhdelaw.com
                                            mch@pmhdelaw.com

                                            Of Counsel:

                                            Andrew M. Alul
                                            Roshan P. Shrestha, Ph.D.
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            111 East Wacker Drive, Suite 2800
                                            Chicago, IL 60601
                                            312-527-4000
                                            aalul@taftlaw.com
                                            rshrestha@taftlaw.com

                                            Aaron M. Johnson
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            2200 IDS Center
                                            80 South Eighth Street
                                            Minneapolis, MN 55402
                                            612-977-8400
                                            ajohnson@taftlaw.com

                                            Christopher J. Kelly
                                            MAYER BROWN LLP
                                            Two Palo Alto Square
                                            3000 El Camino Real
                                            Palo Alto, CA 94306-2112
                                            (650) 331-2000
                                            cjkelly@mayerbrown.com

                                            Attorneys for Defendant
                                            Bionpharma Inc.




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                                 CERTIFICATE OF SERVICE

          I, Megan C. Haney, hereby certify that on March 21, 2022, a copy of Defendant
  Bionpharma Inc.’s First Set of Interrogatories was served upon the following counsel of record
  in the manner indicated below:

  VIA EMAIL

  Jack B. Blumenfeld
  Megan E. Dellinger
  Morris, Nichols, Arsht & Tunnell LLP
  1201 North Market Street
  P.O. Box 1347
  Wilmington, DE 19899
  jblumenfeld@morrisnichols.com
  mdellinger@morrisnichols.com

  Wendy L. Devine
  Kristina M. Hanson
  Nicholas Halkowski
  Wilson Sonsini Goodrich & Rosati
  One Market Plaza, Spear Tower, Suite 3300
  San Francisco, CA 94105
  wdevine@wsgr.com
  thanson@wsgr.com
  nhalkowski@wsgr.com

  Natalie J. Morgan
  Evan Sumner
  Wilson Sonsini Goodrich & Rosati
  12235 El Camino Real, Suite 200
  San Diego, CA 94105
  nmorgan@wsgr.com
  esumner@wsgr.com

  Granville C. Kaufman
  Ty W. Callahan
  Wilson Sonsini Goodrich & Rosati
  633 West Fifth Street, Suite 1550
  Los Angeles, CA 90071
  gkaufman@wsgr.com
  tcallaham@wsgr.com

  Jeffrey C. Bank
  Wilson Sonsini Goodrich & Rosati
  1700 K Street, NW, Fifth Floor

                                                 4
Case 1:21-cv-01286-MSG Document 157-1 Filed 04/21/22 Page 25 of 74 PageID #: 2408




  Washington, DC 20006
  jbank@wsgr.com

                                     /s/ Megan C. Haney
                                     Megan C. Haney (No. 5016)




                                        5
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                   EXHIBIT C
     Case 1:21-cv-01286-MSG Document 157-1 Filed 04/21/22 Page 27 of 74 PageID #: 2410


Poonai, Alexander

From:                                Shrestha, Roshan P. <rshrestha@taftlaw.com>
Sent:                                Tuesday, March 8, 2022 10:54 AM
To:                                  Hanson, Tina
Cc:                                  Bank, Jeffrey; Alul, Andrew M.; Kelly, Christopher J.; Poonai, Alexander; Johnson, Aaron;
                                     Jack Phillips; Megan C. Haney; Dellinger, Megan E.; Raucci, Anthony D.
Subject:                             Re: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]
Attachments:                         image025.png; image026.png; image027.png; image028.png; image029.png;
                                     image030.png; image001.png; image002.png; image003.png; image004.png;
                                     image005.png; image006.png; image007.png; image008.png; image009.png;
                                     image010.png; image011.png; image012.png; Azurity_Bionpharma_ Stipulation re
                                     Motion to Dismiss Briefing.docx


[External]


Tina, the stipulation is fine with Bionpharma.



As you should well know, Bionpharma is not interested in “discuss[ing] a faster trial schedule.” In fact, depending on the
level of cooperation we get from Azurity in discovery—particularly with respect to discovery related to Bionpharma’s
antitrust claims—Bionpharma may be seeking an extension of the current schedule.



- Roshan



        On Mar 3, 2022, at 10:52 AM, Hanson, Tina <thanson@wsgr.com> wrote:

        [EXTERNAL MESSAGE]
        Roshan,

        Attached is a draft stipulation regarding the Parties’ agreed-upon schedule for the briefing.

        If Bionpharma would like to discuss a faster trial schedule, we would be happy to do so. But as the
        current deadline for fact discovery is December 12 of this year, the briefing schedule should not jam
        anything up.

        Best,
        Tina




Tina Hanson| Wilson Sonsini Goodrich & Rosati
One Market│Spear Tower│San Francisco, CA│94105-1126 | direct: 415.947.2048 | thanson@wsgr.com



                                                                  1
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  From: Shrestha, Roshan P. <rshrestha@taftlaw.com>
  Sent: Wednesday, March 2, 2022 11:05 AM
  To: Hanson, Tina <thanson@wsgr.com>; Bank, Jeffrey <jbank@wsgr.com>; Alul, Andrew M.
  <AAlul@taftlaw.com>; Kelly, Christopher J. <CJKelly@mayerbrown.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Johnson, Aaron <AJohnson@Taftlaw.com>; Jack Phillips
  <JCP@PMHDELaw.com>; Megan C. Haney <mch@PMHDELaw.com>; Dellinger, Megan E.
  <mdellinger@morrisnichols.com>; Raucci, Anthony D. <araucci@morrisnichols.com>
  Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  [External]

  Tina:

  While we appreciate Azurity’s apparent willingness to attempt make do with the page limits prescribed
  under the Delaware Local Rules, we still fail to understand why an 11-week briefing schedule for
  Azurity’s purported forthcoming motion to dismiss is necessary, or even warranted, particularly in light
  of Azurity insistence on an expedited schedule and unjustifiable accusations of delay against
  Bionpharma, outlined below. It bears worth repeating one more time that the due date for the reply
  brief you’re seeking to file will come after the close of fact discovery that Azurity vigorously advocated
  for during the parties’ dispute over scheduling.

  Nevertheless, in an effort to move past this dispute, and in consideration of your apparent willingness to
  (at least for now) make do with the page limits prescribed under the local rules, Bionpharma will agree
  to the briefing schedule you propose in your email from Monday. Please send over a draft stipulation
  for review.

  - Roshan



  From: Hanson, Tina <thanson@wsgr.com>
  Sent: Monday, February 28, 2022 6:15 PM
  To: Shrestha, Roshan P. <rshrestha@taftlaw.com>; Bank, Jeffrey <jbank@wsgr.com>; Alul, Andrew M.
  <AAlul@taftlaw.com>; Kelly, Christopher J. <CJKelly@mayerbrown.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Johnson, Aaron <AJohnson@Taftlaw.com>; Jack Phillips
  <JCP@PMHDELaw.com>; Megan C. Haney <mch@PMHDELaw.com>; Dellinger, Megan E.
  <mdellinger@morrisnichols.com>; Raucci, Anthony D. <araucci@morrisnichols.com>
  Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  [EXTERNAL MESSAGE]
  Roshan,

  Jeff is now out on paternity leave so I am stepping in and hopeful we can find some resolution here.

  To start, it’s a little disingenuous to stay that Bionpharma’s First Motion to Dismiss complied with the
  Delaware briefing limits as that motion was filed in New Jersey and Bionpharma had 30 pages to brief
  with there. However, the drafting is ongoing. If the need for more pages persists, we understand your
  position and will take it up with the Court.

  With respect to the timing, Bionpharma requested, and received, a trial schedule two years from now. I
  am a little surprised at your reticence to our request, given that we have repeatedly granted
                                                       2
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        Bionpharma’s requests for extensions, even when it did not benefit Azurity because we believed the
        case should be expedited. We have continually operated in good faith in granting Bionpharma’s requests
        and I am a little surprised at the lack of reciprocation but understand that this is the now the standard
        moving forward.

        We do not agree with any of the characterizations below, but for the sake of brevity and with one last
        push to not burden the Court with an unnecessary motion, I would propose the following for the
        briefing schedule:

        Opening Papers – March 24
        Opposition – April 21
        Reply – May 5

        We make this offer with the understanding that, if Bionpharma rejects it, we are not waiving or
        prejudicing our right to move the Court with the original proposal.

        Best,
        Tina




Tina Hanson| Wilson Sonsini Goodrich & Rosati
One Market│Spear Tower│San Francisco, CA│94105-1126 | direct: 415.947.2048 | thanson@wsgr.com




        From: Shrestha, Roshan P. <rshrestha@taftlaw.com>
        Sent: Sunday, February 27, 2022 12:18 PM
        To: Bank, Jeffrey <jbank@wsgr.com>; Alul, Andrew M. <AAlul@taftlaw.com>; Kelly, Christopher J.
        <CJKelly@mayerbrown.com>
        Cc: Poonai, Alexander <apoonai@wsgr.com>; Hanson, Tina <thanson@wsgr.com>; Johnson, Aaron
        <AJohnson@Taftlaw.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan C. Haney
        <mch@PMHDELaw.com>
        Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

        [External]

        Jeff:

        Thanks for your email, and welcome to the “party,” as you describe it. We’ll excuse the misleading
        nature of your email (owing predominantly to the omission of numerous critical facts) based on your
        absence from most of the nearly five-and-a-half years the parties to this case have been litigating
        enalapril.

        All of this “back-and-forth rhetoric,” as you characterize it, would be unnecessary, of course, had Azurity
        not adamantly pressed for an expedited schedule and repeatedly and unjustifiably accused Bionpharma
        of delay in these Third Wave Suits. While you accuse Bionpharma of seeking extensions on “four
        separate occasions,” you neglect to mention that two of those extensions had nothing to do with
        Bionpharma’s answers and counterclaims in the Third Wave Suits. Moreover, your assertion that
        Bionpharma had “essentially 7 months to draft and file its answer,” is also incorrect for several reasons,
                                                                  3
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  including because for several of those months the parties were tied up briefing Bionpharma’s second
  motion to dismiss, necessitated by Azurity’s sham suits against its corporate sister (CoreRx) and
  subsequent voluntary dismissal of those suits. Also, Azurity did not file its First Amended and
  Supplemental Complaint in the 21-1286 action until November 11, 2021—a little over three months
  ago—how exactly was Bionpharma supposed to prepare its answer and counterclaims to that pleading
  before it was even filed? Your accusation regarding a one-week delay in providing Azurity with
  Bionpharma’s “trivial” redactions to Bionpharma’s pleadings from last Thursday rings incredibly hollow
  for obvious reasons. In any case, any extensions Bionpharma has sought pale in comparison to the
  numerous extensions Azurity has sought throughout these litigations—including an over 8-week
  extension that Azurity sought to get its opening brief on file in its own appeal of the First Wave Suits—
  and relentless delay tactics Azurity has employed in these cases (including a three-month delay caused
  by Azurity originally filing the 21-1286 action in the District of New Jersey to get away from Judge Stark’s
  adverse rulings in the First Wave Suits, and vigorously opposing a § 1404(a) motion Bionpharma filed to
  transfer the 21-1286 action back to Delaware where it belonged, going so far as to argue to the New
  Jersey court that the 21-1286 suit was not related to any pending enalapril litigations in Delaware (21-
  1286 D.I. 31, Azurity’s Opp’n to Def.’s Mot. to Transfer at 3-6), which Azurity knew was false (21-1286
  D.I. 63, Sept. 14, 2021 Ltr. from. M. Dellinger to J. Cerino, Clerk of the Court (upon transfer, designating
  the 21-1286 action as related to other pending enalapril Delaware litigations)).

  We simply find it hard to reconcile Azurity’s repeated accusations of delay and insistence on an
  expedited schedule for the Third Wave Suits with your desire to turn what would ordinarily be a 6-week
  briefing schedule into an extended 12-week schedule. Moreover, given His Honor’s imminent departure
  to the Federal Circuit, we believe Judge Stark will be less inclined to grant requests for extended briefing
  schedules (or additional brief pagination). We thus continue to believe that the schedule you propose
  for Azurity’s purported forthcoming motion to dismiss is excessive and simply unjustified, by Azurity’s
  own recent standards.

  Nevertheless, in the interest of compromise, we are willing to agree to a 10 week briefing schedule for
  Azurity’s motion, with an agreed upon due date for Azurity’s reply, as follows:

  1.      March 17 – Motion to dismiss
  2.      April 14 – Opposition
  3.      April 28 – Reply

  We propose the forgoing schedule as a fair compromise—should Azurity reject it, Bionpharma reserves
  the right to oppose any extension of the deadlines in place under the local rules.

  Finally, we continue to believe that the parties should adhere to the local rules for page limitations. As
  mentioned above, in view of Judge Stark’s imminent departure, we believe His Honor will be less
  inclined than normal to accommodate additional page requests. And although the briefing on
  Bionpharma’s previous motions to dismiss concerned, as you say, only “patent issues,” they were
  nevertheless extensive and Bionpharma could easily have benefited from extra pages then (e.g., in
  connection with Bionpharma’s First Motion to Dismiss, Bionpharma had to address in meticulous detail
  why all 20 claims of the ‘023 patent were patentably indistinct from the claims of the First and Second
  Wave Patents, including with claim charts). Moreover, outside of the motion to dismiss context, the
  parties have complied with the Delaware local rule page limits; including in connection with Azurity’s PI
  motion in the First and Second Wave Suits, which involved not just patent issues, but also irreparable
  harm, balance of hardships, and public policy issues. See, e.g., 18-1962 D.I. 232, Silvergate’s Opening Br.
  in Supp. of Its Mot. for Prelim. Inj. Thus, we continue to see no reason why the parties cannot abide by
  the local rules for page limitations in connection with Azurity’s purported forthcoming motion to
  dismiss.


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  Thanks.

  - Roshan



  From: Bank, Jeffrey <jbank@wsgr.com>
  Sent: Thursday, February 24, 2022 3:22 PM
  To: Shrestha, Roshan P. <rshrestha@taftlaw.com>; Alul, Andrew M. <AAlul@taftlaw.com>; Kelly,
  Christopher J. <CJKelly@mayerbrown.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Hanson, Tina <thanson@wsgr.com>; Johnson, Aaron
  <AJohnson@Taftlaw.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan C. Haney
  <mch@PMHDELaw.com>
  Subject: Re: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  [EXTERNAL MESSAGE]
  Roshan,

  Thanks for your email. I’m relatively new to the party, and I reached out to Chris to try to avoid back-
  and-forth rhetoric. I thought my proposal was uncontroversial, and we wouldn’t need to waste time on
  this.

  But, your response surprised us. I understand that Bion has requested and received extensions on four
  separate occasions (Dkt. 94, 95, 108, and 130) and that Bion has had essentially 7 months to draft and
  file its answer. Additionally, Bion took a week to make trivial redactions to three paragraphs in its
  counterclaim, which prevented our client from reviewing the claims during that time. Moreover, given
  that Bion’s proposed case schedule was largely adopted, and there will be a transition to a new judge,
  the proposed briefing schedule prejudices no one.

  In light of those facts, so we can get on to the merits, can we agree to the following:
       1. March 31 – Motion to dismiss (25 pages)
       2. April 28 – Opposition (25 pages)
       3. May 12 – Reply (15 pages)

  Regarding the pages, my understanding is that previous briefing concerned only patent issues; this
  briefing will concern patent and antitrust issues, so a minor expansion of pages makes sense. I believe
  Bion previously made representations about the material impact of adding antitrust issues to the
  litigation. However, we are willing to reduce our proposal from 30 pages to 25 pages for the opening
  and opposition briefs. Regarding the reply, it doesn’t make sense to leave the schedule open-ended, so
  we propose a set date.

  Let me know if you want to discuss.

  Regards,
  Jeff



  From: "Shrestha, Roshan P." <rshrestha@taftlaw.com>
  Date: Thursday, February 24, 2022 at 11:30 AM
  To: "Alul, Andrew M." <AAlul@taftlaw.com>, "Kelly, Christopher J."
  <CJKelly@mayerbrown.com>, Jeffrey Bank <jbank@wsgr.com>
  Cc: "Poonai, Alexander" <apoonai@wsgr.com>, "Hanson, Tina" <thanson@wsgr.com>,
                                                       5
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  "Johnson, Aaron" <AJohnson@Taftlaw.com>, Jack Phillips <JCP@PMHDELaw.com>, "Megan C.
  Haney" <mch@PMHDELaw.com>
  Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  [External]

  Counsel:

  We are somewhat surprised by Azurity’s proposal for a three-week extension of the time it needs to
  respond to Bionpharma’s counterclaims, particularly in view of the accusations of delay Azurity made
  against Bionpharma during the dispute over scheduling for the Third Wave Suits and Azurity’s insistence
  that an expedited schedule—with fact discovery closing on April 25, 2022, before briefing on Azurity’s
  purported forthcoming motion to dismiss would even be completed, under Azurity’s proposal—was
  warranted, irrespective of the scope of Bionpharma’s counterclaims. See, e.g., 21-1286 D.I. 117,
  Azurity’s Jan. 19, 2022 Ltr. at 1-2.

  Nevertheless, Bionpharma is open to stipulating to a reasonable extension of the time Azurity needs to
  respond to Bionpharma’s counterclaims in the Third Wave Suits, but three weeks seems excessive,
  particularly in view of Azurity’s positions during the scheduling dispute. See also February 7, 2022 email
  from T. Hanson to R. Shrestha (“Azurity agrees to a one-week extension for Bionpharma’s response to
  Azurity’s complaint, but will not agree to any further extensions beyond this.” (emphasis added)).

  In view of the foregoing, Bionpharma will agree to a two-week extension of the current deadline (March
  10, 2022) for Azurity to respond to Bionpharma’s counterclaims, or until March 24, 2022, provided that
  Azurity will agree to extend the due date for Bionpharma’s response to Azurity’s purported forthcoming
  motion to dismiss until April 21, 2022. We believe the parties should wait until Bionpharma has
  responded to Azurity’s motion before discussing any extension of the due date for Azurity’s reply.

  With respect to page limits, we believe the parties should follow the local rules, which, of course, is
  what the parties did in connection with Bionpharma’s previous motions to dismiss (21-1286 D.I. 8, 97).

  Thanks.

  - Roshan




                  Roshan P. Shrestha, Ph.D.
  Taft /          Partner
                  rshrestha@taftlaw.com
                  Dir: 312.840.4339
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  From: Alul, Andrew M. <AAlul@taftlaw.com>
  Sent: Tuesday, February 22, 2022 3:38 PM
  To: Kelly, Christopher J. <CJKelly@mayerbrown.com>; Bank, Jeffrey <jbank@wsgr.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Hanson, Tina <thanson@wsgr.com>; Shrestha, Roshan P.
  <rshrestha@taftlaw.com>; Johnson, Aaron <AJohnson@Taftlaw.com>
  Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  Copying Roshan Shrestha and Aaron Johnson—please also include them on all further correspondence
  for this matter, regardless of whether the communication pertains to Bionpharma’s antitrust
  counterclaim or otherwise.

  Thanks.

  - Andy



                  Andrew M. Alul, Partner
  Taft /          Litigation; Intellectual Property/Patent
                  Direct: 312.836.4135 | Office Ext: 34135
                  Taft Office: Chicago


  From: Kelly, Christopher J. <CJKelly@mayerbrown.com>
  Sent: Tuesday, February 22, 2022 3:30 PM
  To: Bank, Jeffrey <jbank@wsgr.com>; Alul, Andrew M. <AAlul@taftlaw.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Hanson, Tina <thanson@wsgr.com>
  Subject: RE: Azurity Pharmaceuticals v. Bionpharma, Inc. [MB-AME.FID2745800]

  [EXTERNAL MESSAGE]
  Good to hear from you, Jeff. Let me bring Andy Alul, whom you all know, into the conversation. We’ll be
  back to you.

  Best regards.

  Chris


  From: Bank, Jeffrey <jbank@wsgr.com>
  Sent: Tuesday, February 22, 2022 1:23 PM
  To: Kelly, Christopher J. <CJKelly@mayerbrown.com>
  Cc: Poonai, Alexander <apoonai@wsgr.com>; Hanson, Tina <thanson@wsgr.com>
  Subject: Azurity Pharmaceuticals v. Bionpharma, Inc.

  **EXTERNAL SENDER**

  Hi Chris,



                                                        7
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         Hope you’re well. I’m writing with regards to the answer/counterclaim filed by Bion. We’d like to
         discuss an appropriate briefing schedule for a motion to dismiss. In light of the previous extensions
         granted and the extent of the allegations in the counterclaims, we would propose the following:

         March 31 – Motion to dismiss (30 pages)
         April 28 – Opposition (30 pages)
         May 12 – Reply (15 pages)

         Let me know if you want to discuss. We can draft a stipulation if you agree.

         Thanks,
         Jeff




Jeff Bank | Partner | Wilson Sonsini Goodrich & Rosati
1700 K Street NW | Washington, DC 20006 | direct: 212.497.7761 | mobile: 607.262.0211 | jbank@wsgr.com




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    TABLE OF PENDING BIONPHARMA REQUESTS SEEKING ANTITRUST DISCOVERY
          Bionpharma’s First Set of Requests for Production of Documents and Things
   RFP
                                           Request                                        Relates to
   No.
         Documents sufficient to show the ownership interest of NovaQuest in
    11                                                                                   CoreRx Suits
         Azurity and CoreRx.

         Documents sufficient to show organizational structure of, and corporate
    12                                                                                   CoreRx Suits
         relationship between, Azurity, NovaQuest, and CoreRx.

         Documents sufficient to show the ownership of Azurity, NovaQuest, and
    13                                                                                   CoreRx Suits
         CoreRx.

         All documents and things concerning relationships, agreements, and
         communications between Azurity and either NovaQuest or CoreRx or
    14   both (or any affiliate or subsidiary thereof) as they relate to the Enalapril   CoreRx Suits
         Liquid Patents, Related Patent Applications, Epaned, and/ or NDA No.
         208686.

         Any settlement agreements between Azurity and either NovaQuest or
         CoreRx or both (or any affiliate or subsidiary thereof) as they relate to
    15                                                                                   CoreRx Suits
         Enalapril Liquid Patents, Related Patent Applications, Epaned, and/or
         NDA No. 208686.

         All documents and things referring or relating to any valuations of the
    19   indemnification granted by Azurity to CoreRx in the settlement                  CoreRx Suits
         agreement between Azurity and CoreRx regarding Third Wave Patents.

         All documents and things concerning the Azurity-CoreRx LSA, including
    20                                                                                   CoreRx Suits
         any drafts of the Azurity-CoreRx LSA.

         All documents and communications relating to actual or potential generic          Antitrust
    21
         competition to Epaned.                                                             Issues

         All documents and communications with NovaQuest relating to
    22   Bionpharma, Bionpharma’s ANDA Product, or any actual or potential               CoreRx Suits
         competition to Epaned.
         All documents and communications with NovaQuest relating to CoreRx’s
    23   relationship with Bionpharma, including documents and communications            CoreRx Suits
         pertaining to the MMSA.
         All documents and communications with CoreRx relating to generic
         competition
    24                                                                                   CoreRx Suits



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   RFP
                                          Request                                      Relates to
   No.
         to Epaned, the Enalapril Liquid Patents, Bionpharma’s ANDA Product,
         the MMSA, the Azurity-CoreRx LSA, NovaQuest, and any other
         enalapril ANDA filer.

         All documents and communications relating to generic competition to
         Epaned, the Enalapril Liquid Patents, Bionpharma’s ANDA Product,
    25   CoreRx, the Azurity-CoreRx LSA, NovaQuest, and any other ANDA                CoreRx Suits
         filer, to or from any board member, past or present, of CoreRx, including
         Messrs. Nailesh Bhatt, Vern Davenport, IV Jeff Edwards, and Frank Leo.

         All documents and communications relating to generic competition to
         Epaned, the Enalapril Liquid Patents, Bionpharma’s ANDA Product,
         CoreRx, the Azurity-CoreRx LSA, NovaQuest, and any other ANDA
    26                                                                                CoreRx Suits
         filer, to or from any board member, past or present, of Azurity, including
         Messrs. Nailesh Bhatt, Richard Blackburn, Vern Davenport, Jeff
         Edwards, Frank Leo, Amit Patel, and Dave Ritchie.

         All documents and things, including communications between Azurity
    27   and NovaQuest, relating to NovaQuest’s decision, negotiation, or             CoreRx Suits
         agreement to take an ownership interest in CoreRx.

         All documents, communications, and things relating to Azurity’s decision
    28                                                                                CoreRx Suits
         to sue CoreRx for alleged infringement of Third Wave Patents.

         All documents, communications, and things between Azurity and
    29   NovaQuest relating to Azurity’s decision to sue CoreRx for alleged           CoreRx Suits
         infringement of Third Wave Patents.

         All documents and things pertaining to Azurity’s decision to voluntarily
         dismiss Azurity Pharmaceuticals, Inc. v. CoreRx, Inc., C.A. No. 21-1522-
    30                                                                                CoreRx Suits
         LPS (D. Del.) and Azurity Pharmaceuticals, Inc. v. CoreRx, Inc., C.A.
         No. 21-2515-VMC-SPF (M.D. Fla.).

         All documents and communications (including from consultants, market
         analysts, attorneys, or other third parties), including any opinions of
         counsel, concerning the strength(s) or weakness(es) of any of the             First Wave
    40
         Enalapril Liquid Patents and/or the merits or expected outcome of any of         Suits
         the First Wave Suits, Second Wave Suit, Third Wave Suits and/or
         Related Patent Litigations.

         All documents and things concerning any opinions of counsel concerning
                                                                                       First Wave
    41   any of the Enalapril Liquid Patents, the First Wave Suits, the Second
                                                                                          Suits
         Wave Suit, the Third Wave Suits, and/or Related Patent Litigations.



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   RFP
                                          Request                                       Relates to
   No.
                                                                                        Antitrust
    44   Documents sufficient to identify each drug that competes with Epaned.
                                                                                         Issues
         Documents sufficient to identify each hypertension treatment that              Antitrust
    45
         competes with Epaned.                                                           Issues

         Documents sufficient to identify each symptomatic heart failure treatment      Antitrust
    46
         that competes with Epaned.                                                      Issues

         Documents sufficient to identify each asymptomatic left ventricular            Antitrust
    47
         dysfunction treatment that competes with Epaned.                                Issues

         Documents sufficient to describe the cost, availability, and distribution of
         any product or treatment that competes with Epaned or is used to treat         Antitrust
    48
         hypertension, symptomatic heart failure, and/or symptomatic heart               Issues
         failure.

         All documents and things relating to the gross and net sales, market
         share, gross and net profits; sales and profit forecasts; advertising,
                                                                                        Antitrust
    49   promotion, presentation, description, and/or explanation of any product
                                                                                         Issues
         or treatment that competes with Epaned or is used to treat hypertension,
         symptomatic heart failure, and/or symptomatic heart failure.

         All documents relating to any market in which Epaned competes,
         including all documents relating to the market share of Epaned and/or
         any product or therapy that actually or potentially competes with Epaned,
                                                                                        Antitrust
    53   any competitive analysis of any product or therapy that actually or
                                                                                         Issues
         potentially competes with Epaned, and the impact (including impact on
         sales (in dollars or unit volume) and/or profits) on Azurity of any product
         or therapy that actually or potentially competes with Epaned.

         Any market research, physician surveys, or prescriptions data analysis for
         Epaned or for any treatment that competes with Epaned or that is used to       Antitrust
    57
         treat hypertension, symptomatic heart failure, and/or symptomatic heart         Issues
         failure.

         All documents and communications relating to generic competition to            Antitrust
    62
         Epaned, including evaluation of ANDA filers.                                    Issues

         All documents concerning competition for the sale of any enalapril             Antitrust
    63
         product.                                                                        Issues

         All documents, communications, and things relating to Azurity’s decision
                                                                                        First Wave
    64   to sue, and/or to maintain any suit against, Bionpharma for alleged
                                                                                           Suits
         infringement of First Wave Patents, including:


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   RFP
                                          Request                                     Relates to
   No.
         a. All documents, communications, and things relating to the merits of
         Azurity’s claims, including whether any objective basis exists for them.
         b. All documents, communications, and things relating to the likelihood
         that Azurity would obtain any relief on its claims;

         c. All documents, communications, and things relating to Azurity’s legal
         and business objectives from asserting the claims, including the effect of
         this and/or other patent litigations on Bionpharma’s financial ability
         and/or willingness to defend against the claims; and

         d. All documents, communications and things relating to the effect of
         Azurity’s suing, or maintaining any suit, against Bionpharma for alleged
         infringement of First Wave Patents, including any effect on Azurity’s
         sales (in dollars or unit volume) or profit margins for Epaned.
         All documents, communications, and things relating to Azurity’s decision
         to sue, and/or to maintain any suit against, Bionpharma for alleged
         infringement of Second Wave Patents, including:

         a. All documents, communications, and things relating to the merits of
         Azurity’s claims, including whether any objective basis exists for them.

         b. All documents, communications, and things relating to the likelihood
         that Azurity would obtain any relief on its claims;
                                                                                      Antitrust
    65
                                                                                       Issues
         c. All documents, communications, and things relating to Azurity’s legal
         and business objectives from asserting the claims, including the effect of
         this and/or other patent litigations on Bionpharma’s financial ability
         and/or willingness to defend against the claims; and

         d. All documents, communications and things relating to the effect of
         Azurity’s suing, or maintaining any suit, against Bionpharma for alleged
         infringement of Second Wave Patents, including any effect on Azurity’s
         sales (in dollars or unit volume) or profit margins for Epaned.




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                           Bionpharma’s First Set of Interrogatories
   No.                                  Interrogatory                              Relates to
         Describe in detail the relationship between Azurity, NovaQuest, and
    4    CoreRx, including any ownership interest that NovaQuest has in Azurity   CoreRx Suits
         and/or CoreRx, and the extent of such ownership interest.




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                   EXHIBIT E
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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK
      BIONPHARMA INC.,

                             Plaintiff,
                                                               Case No. 21-cv-10656 (JGK)
                        v.

      CORERX, INC.,                                            DEFENDANT CORERX, INC.’S
                                                               ANSWER TO COMPLAINT WITH
                             Defendant.                        AFFIRMATIVE DEFENSES AND
                                                               COUNTERCLAIMS
      CORERX, INC.,

                          Counterclaim-Plaintiff,

      v.

      BIONPHARMA, INC.,

                          Counterclaim-Defendant.


           Defendant CoreRx, Inc. (“Defendant” or “CoreRx”), by and through its undersigned

  counsel, Buchanan Ingersoll & Rooney PC, respectfully submits this Answer with Affirmative

  Defenses and Counterclaims to the Complaint of Plaintiff Bionpharma Inc. (“Plaintiff” or

  “Bionpharma”) filed on December 13, 2021 (ECF No. 1) (the “Complaint” or “Compl.”), and

  asserts as follows:

                                                 THE PARTIES 1

           1.       CoreRx denies knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 1.

           2.       CoreRx admits the allegations in paragraph 2.




  1
    CoreRx herein copies the section headings used in the Complaint for ease of reference only; the headings do not
  constitute part of CoreRx’s answer to the allegations of the Complaint. To the extent that answers to the Complaint’s
  section headings may be required, CoreRx hereby denies all such headings.


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                                       JURISDICTION AND VENUE

          3.       CoreRx admits that this action involves a dispute between citizens of different

  states, but otherwise denies the allegations in paragraph 3 and states that no response is required

  to the legal conclusions contained therein.

          4.       CoreRx states that paragraph 4 contains legal conclusions to which no response is

  required. To the extent a response is required, CoreRx admits that it was party to the referenced

  Agreement 2 attached as Exhibit A to the Complaint, states that the Agreement speaks for itself,

  and refers the Court to the Agreement for its terms.

          5.       CoreRx states that paragraph 5 contains legal conclusions to which no response is

  required. To the extent a response is required, CoreRx admits that it was party to the Agreement,

  states that the Agreement speaks for itself, and refers the Court to the Agreement for its terms.

                                               BACKGROUND

          6.       CoreRx admits that it entered into the Agreement with CoreRx in November

  2020, acknowledges that the attached Exhibit A to the Complaint appears to be a true, accurate

  and complete copy of that Agreement, states that the Agreement speaks for itself, and refers the

  Court to the Agreement for its terms.

          7.       CoreRx denies knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 7.

          8.       CoreRx denies knowledge or information sufficient to form a belief as to the truth

  of the allegations in paragraph 8.




  2
   Unless otherwise specified herein, abbreviations and capitalized terms have the meanings ascribed to them in the
  Complaint.


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         9.      CoreRx states that paragraph 9 contains legal conclusions to which no response is

  required and, to the extent a response is required, CoreRx denies knowledge or information

  sufficient to form a belief as to the truth of the allegations in paragraph 9.

         10.     CoreRx admits that Silvergate was the predecessor to Azurity and that Azurity

  holds the marketing authorization for Epaned, but otherwise denies knowledge or information

  sufficient to form a belief as to the truth of the allegations of paragraph 10.

         11.     CoreRx admits that Silvergate brought a patent infringement suit against

  Bionpharma in the U.S. District Court for the District of Delaware (“Delaware District Court”) in

  December 2018, and that Azurity brought a separate patent infringement suit against Bionpharma

  in the Delaware District Court on September 18, 2020, but otherwise denies knowledge or

  information sufficient to form a belief as to the truth of the allegations in paragraph 11 and states

  that no response is required to the legal conclusions contained therein.

         12.     CoreRx admits that Azurity filed a new patent infringement suit against

  Bionpharma in June 2021 in the U.S. District Court for the District of New Jersey; that Azurity

  therein filed a motion for preliminary injunction, which Bionpharma opposed; that, while the

  preliminary injunction motion was pending, the suit was transferred to the Delaware District Court;

  that the Delaware District Court denied Azurity’s preliminary injunction motion on November 10,

  2021; and that that lawsuit remains pending. CoreRx further admits that Azurity initiated another

  new, separate patent infringement suit against Bionpharma in the District of Delaware on October

  15, 2021, and that that suit too remains pending. As to any and all remaining allegations in

  paragraph 12, CoreRx denies knowledge or information sufficient to form a belief as to the truth

  of those allegations and states that no response is required to the legal conclusions contained

  therein.




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          13.     CoreRx admits that Azurity commenced two separate patent infringement lawsuits

  against CoreRx in October 2021 (one in the District of Delaware and one in the U.S. District Court

  for the Middle District of Florida), both predicated upon allegations that CoreRx’s actions in

  manufacturing the Product for Bionpharma infringed two of Azurity’s existing patents (the

  “Azurity-CoreRx Lawsuits”). As to any and all remaining allegations in paragraph 13, CoreRx

  denied knowledge or information sufficient to form a belief as to the truth of those allegations and

  states that no response is required to the legal conclusions contained therein.

          14.     CoreRx admits that on or about November 26, 2021, Azurity dismissed the Azurity-

  CoreRx Lawsuits, but otherwise denies the allegations in paragraph 14 and avers that the

  dismissals of both of the Azurity-CoreRx Lawsuits were dismissals without prejudice.

          15.     CoreRx denies the allegations in paragraph 15 and states that no response is

  required to the legal conclusions contained therein.

          16.     CoreRx states that no response is required to the allegations in paragraph 16

  because they set forth Bionpharma’s characterization or interpretation of the Agreement, which

  speaks for itself, and denies any allegations inconsistent therewith. To the extent a response to the

  allegations in paragraph 16 is required, CoreRx denies knowledge or information sufficient to form

  a belief as to the truth of those allegations.

          17.     CoreRx admits the allegations in paragraph 17.

          18.     CoreRx admits that Bionpharma responded to the fax referenced in paragraph 17

  of the Complaint and attached as Exhibit B thereto; admits that the attached Exhibit C to the

  Complaint appears to be a true, accurate and complete copy of said response; and states that Exhibit

  C speaks for itself. To the extent a further response to paragraph 18 is required, CoreRx admits

  that Bionpharma, in its response, made a contention that CoreRx was in breach of the Agreement,




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  but does not admit, and rather denies, the substance of that contention, and denies the remainder

  of the allegations in paragraph 18 as well.

         19.     CoreRx admits that Bionpharma placed an order with CoreRx for a specified

  quantity of Product on or about August 26, 2021 and that the attached Exhibit D to the Complaint

  appears to be a true, accurate and complete copy of said order (the “August 26 Firm Order”), but

  otherwise denies knowledge or information sufficient to form a belief as to the truth of the

  allegations in paragraph 18.

         20.     CoreRx states that no response is required to the allegations in paragraph 20

  because they set forth Bionpharma’s characterization or interpretation of the requirements and

  terms of the Agreement, which speaks for itself, and denies any allegations inconsistent therewith.

  To the extent a response to the allegations in paragraph 20 is required, CoreRx denies knowledge

  or information sufficient to form a belief as to the truth of those allegations.

         21.     CoreRx denies the allegations in paragraph 21, and further avers that, pursuant to

  the Preliminary Injunction entered by the Court in this action on February 4, 2022 (ECF No. 79)

  (the “Preliminary Injunction”), CoreRx has manufactured, and Bionpharma has taken possession

  of, 100% of the Product ordered in the August 26 Firm Order.

         22.     CoreRx admits that, as of the date the Complaint was filed, it had advised

  Bionpharma that it did not intend to manufacture or ship to Bionpharma the then-unfilled portion

  of the August 26 Firm Order, but states that, pursuant to the Preliminary Injunction, CoreRx had

  as of March 4, 2022 manufactured and shipped Product to Bionpharma in accordance with the

  August 26 Firm Order.

         23.     CoreRx admits that it entered into an agreement with Azurity that relates to the

  Product, and that CoreRx and Azurity are entities that are under private equity control (albeit under




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  control by two different private equity funds), and otherwise denies the allegations of the

  introductory portion of paragraph 23, and responds to the various, additional subparts of paragraph

  23 as follows:

                   a.   CoreRx denies the allegations in paragraph 23(a), and avers that in January

                        2021, a majority of the stock of CoreRx was acquired by a fund affiliated

                        with NovaQuest Capital Management (together with its affiliates,

                        “NovaQuest”).

                   b.   CoreRx denies the allegations in paragraph 23(b), and avers that it is two

                        different private equity funds affiliated with NovaQuest that have

                        controlling interests in, respectively, CoreRx and Azurity;

                   c.   CoreRx admits that CoreRx’s board of directors (the “CoreRx Board”) has

                        seven members, and that certain of those seven members of the CoreRx

                        Board also have positions or affiliations with NovaQuest, but otherwise

                        denies the allegations of paragraph 23(c), and specifically as to its subparts,

                        further as alleges as follows:

                        1.      CoreRx denies that Frank Leo is the chairman of the board of

                                directors of Azurity (the “Azurity Board”), but admits that Mr. Leo

                                is a member of the Azurity Board, and avers that Amit Patel is the

                                current Executive Chairman of the Azurity Board. CoreRx admits

                                the remaining allegations in paragraph 23(c)(1).

                        2.      CoreRx admits the allegations in paragraph 23(c)(2).

                        3.      CoreRx denies knowledge or information sufficient to form a belief

                                as to the truth of paragraph 23(a)(c)(3)’s allegations that Jeff




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                           Edwards is a founder and an investment committee member at

                           NovaQuest, but admits that Mr. Edwards is affiliated with

                           NovaQuest, albeit in a manner that is unknown to CoreRx. CoreRx

                           admits the remaining allegations in paragraph 23(c)(3).

                    4.     CoreRx denies that Ashton Poole is a member of the Azurity Board,

                           but otherwise admits the allegations in paragraph 23(c)(4).

                    5.     CoreRx admits the allegations in paragraph 23(c)(5).

              d.    CoreRx restates and incorporates by reference its responses stated in the

                    preceding paragraph 23(c) and subparts (1) through (5) thereof, and further

                    admits that the Azurity Board is constituted of seven (7) members and that

                    a majority of the current Azurity Board members “overlap” and form a

                    majority of the current CoreRx Board.      CoreRx denies the remaining

                    allegations in paragraph 23(d), and avers that only four (4) members of the

                    current CoreRx Board are “Overlapping Directors” who also serve on the

                    current Azurity Board.

              e.    CoreRx admits that Ajay Damani became CoreRx’s CEO and a member of

                    the CoreRx Board in October 2021, but otherwise denies the allegations in

                    paragraph 23(e) and avers that Mr. Damani had, prior to his joining CoreRx,

                    been a Strategic Advisor with a particular NovaQuest affiliate, NovaQuest

                    Capital Management, LLC.

              f.    CoreRx admits that the fax stating that CoreRx would no longer supply

                    Product to Bionpharma was sent on November 30, 2021, and that the

                    stipulation of dismissal in the second of the two Azurity-CoreRx Lawsuits




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                    was filed on November 26, 2021, and states that no response is required to

                    the remaining allegations in paragraph 23(f) because they set forth only

                    Bionpharma’s conclusions and not any facts. To the extent a response to

                    the remaining allegations in paragraph 23(f) is required, CoreRx denies the

                    allegations.

              g.    CoreRx admits the allegations in paragraph 23(g).

              h.    CoreRx avers that two separate and distinct funds affiliated with NovaQuest

                    own controlling percentages of the stock of, respectively, CoreRx and

                    Azurity, and that certain members of the CoreRx Board also serve on the

                    Azurity Board, but denies any further relation between CoreRx and Azurity,

                    and otherwise denies knowledge or information sufficient to form a belief

                    as to the truth of the remaining allegations in paragraph 23(h).

              i.    CoreRx denies the allegations in paragraph 23(i).

              j.    CoreRx admits that on November 19, 2021, CoreRx proposed to

                    Bionpharma a price increase for the Product to be applied in the coming

                    year but denies said proposed increase was “substantial.” CoreRx also

                    admits that the parties had negotiated the then-existing price one year prior,

                    in November 2020. CoreRx denies the remaining allegations in paragraph

                    23(j).

              k.    CoreRx denies the allegations in paragraph 23(k).

              l.    CoreRx states that no response is required to the allegations in paragraph

                    23(l) because they set forth Bionpharma’s interpretation of terms of the

                    Agreement, which speaks for itself, and denies any allegations inconsistent




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                         therewith. To the extent a response to the allegations in paragraph 23(l) is

                         required, CoreRx denies the allegations.

                              COUNT 1 – BREACH OF CONTRACT

         24.     CoreRx restates and incorporates by reference its responses stated in the preceding

  paragraphs 1 through 23 as if fully set forth herein.

         25.     CoreRx denies the allegations in paragraph 25.

         26.     CoreRx denies the allegations in paragraph 26.

         27.     CoreRx denies the allegations in paragraph 27.

         28.     CoreRx states that paragraph 28 contains legal conclusions to which no response is

  required and, to the extent a response is required, CoreRx denies knowledge and information

  sufficient to form a belief as to the truth of the allegations in paragraph 28.

         29.     CoreRx denies knowledge and information sufficient to form a belief as to the truth

  of the allegations in paragraph 29.

         30.     CoreRx denies the allegations in paragraph 30.

                            COUNT 2 – DECLARATORY JUDGMENT

         31.     CoreRx restates and incorporates by reference tis responses stated in the preceding

  paragraphs 1 through 30 as if fully set forth herein.

         32.     CoreRx states that paragraph 32 contains legal conclusions to which no response is

  required, To the extent a response to the allegations in paragraph 32 is required, CoreRx denies

  the allegations and avers that Bionpharma is entitled to no relief whatsoever from CoreRx.

                              RESPONSE TO PRAYER FOR RELIEF

         To the extent a response is required to the section of the Complaint titled “Prayer for Relief”

  (see Compl. at 9), CoreRx denies that Bionpharma is entitled to any relief, including, but not




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  limited to, the relief and/or demands set forth in paragraphs A through E of the Prayer for Relief.

                                    AFFIRMATIVE DEFENSES

          To the extent CoreRx has not expressly admitted any allegations here, such allegations are

  denied. CoreRx reserves its right to amend its Answer with Counterclaims and Affirmative

  Defenses to the extent it learns additional information regarding the allegations set forth in

  Bionpharma’s Complaint.

          CoreRx pleads the following Affirmative Defenses in response to the Complaint. CoreRx

  does not knowingly or intentionally waive any applicable defense, and reserves the right to assert

  and rely on such other applicable defenses as may become available or apparent during the course

  of the proceedings. CoreRx further reserves its right to amend its Answer with Counterclaims and

  Affirmative Defenses accordingly, and/or to delete affirmative defenses that it determines are not

  applicable, during the course of the proceedings. By asserting the following affirmative defenses,

  CoreRx does not concede it has the burden of proof, or any other burden, with respect to any of

  them:


                                FIRST AFFIRMATIVE DEFENSE

          The Complaint, in whole or in part, fails to state a claim upon which relief may be granted

  or for which the relief or recovery sought can be awarded to Plaintiff.

                               SECOND AFFIRMATIVE DEFENSE

          The Complaint, and each cause of action pleaded therein, is preempted by one or more

  statutes, rules, standards and/or regulations of the United States government including, but not

  limited to, the federal Patent Act, 35 U.S.C. §§ 1 et seq.




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                                 THIRD AFFIRMATIVE DEFENSE

         Defendant’s performance under the Agreement was excused pursuant to the doctrine of

  frustration of purpose.

                              FOURTH AFFIRMATIVE DEFENSE

         Defendant’s performance under the Agreement was excused pursuant to the doctrine of

  commercial impracticability.

                                 FIFTH AFFIRMATIVE DEFENSE

         Defendant’s performance under the Agreement was excused as a result of impossibility of

  performance.

                                 SIXTH AFFIRMATIVE DEFENSE

         Plaintiff’s purported claims are barred, in whole or in part, by the equitable doctrines of

  waiver, estoppel, unclean hands, unjust enrichment, laches, mistake and/or other related equitable

  doctrines.

                              SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff’s purported claims are barred, in whole or in part, by the terms, conditions,

  provisions and limitations of the Agreement.

                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s purported claims are barred, in whole or in part, by Plaintiff’s failure to perform

  under the Agreement.

                                 NINTH AFFIRMATIVE DEFENSE

         Plaintiff’s purported claims are barred, in whole or in part, by Plaintiff’s breach of the

  implied covenant of good faith and fair dealing owed by Plaintiff to CoreRx.




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                                TENTH AFFIRMATIVE DEFENSE

          Plaintiff’s purported claimed are barred, in whole or in part, by virtue of Plaintiff not having

  held clear ownership, title or interest in the intellectual property that it licensed to Defendant under

  the parties’ Agreement.

                               ELEVENTH AFFIRMATIVE DEFENSE

          To the extent that Plaintiff suffered any damages, which damages are denied, any such

  damages are barred and/or must be reduced on account of Plaintiff’s failure to take reasonable

  steps to mitigate damages.

                               TWELFTH AFFIRMATIVE DEFENSE

          The Complaint is barred, in whole or in part, by any previous recovery for the same

  damages and/or harm alleged in the Complaint.

                            THIRTEENTH AFFIRMATIVE DEFENSE

          To the extent any liability is established, Plaintiff’s claims, in whole or in part, are subject

  to a setoff for quantities of Product that Defendant has already produced and delivered to Plaintiff

  pursuant to the Preliminary Injunction or otherwise.

                            FOURTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s purported claims are barred, in whole or in part, because Defendant at all times

  acted reasonably and in good faith in performing any and all obligations it owed to Plaintiff under

  the Agreement.

                                      ADDITIONAL DEFENSES

          Defendant reserves the right to assert additional defenses based on information learned or

  obtained during discovery or otherwise in the course of proceedings.




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                                              COUNTERCLAIMS 3

           Defendant and Counterclaim-Plaintiff CoreRx asserts counterclaims against Plaintiff and

  Counterclaim-Defendant Bionpharma for (i) breach of the implied contractual covenant of good

  faith and fair dealing and (ii) unjust enrichment, stating as follows:

                                                      PARTIES

           1.       Defendant and Counterclaim-Plaintiff CoreRx is a Florida corporation with its

  principal place of business in Clearwater, Florida.

           2.       Plaintiff and Counterclaim-Defendant Bionpharma is a Delaware corporation with

  its principal place of business in Princeton, New Jersey.

                                        JURISDICTION AND VENUE

           3.       The Court has subject matter jurisdiction over CoreRx’s counterclaims under 28

  U.S.C. § 1332(a)(1) because the matter in controversy exceeds seventy-five thousand dollars

  ($75,000.00) exclusive of interest and costs, and is between citizens of different states such that

  there is complete diversity between the parties, and under 28 U.S.C. § 1367(a) because the

  counterclaims are so related to Bionpharma’s claims that they form part of the same case or

  controversy under Article III of the United States Constitution.

           4.       The Court has personal jurisdiction over Bionpharma because, pursuant to the

  parties’ Agreement out of which CoreRx’s counterclaims arise, Bionpharma expressly consented

  and submitted to personal jurisdiction in this Court in connection with any disputes arising out of

  or in connection with said Agreement, and because it is a business that conducts substantial




  3
    Consistent with the Order of this Court dated December 14, 2021 (ECF No. 21) and the parties’ past practices in this
  action, CoreRx submits its Counterclaims and accompanying Exhibits under seal, given the inclusion of confidential
  pricing information and pricing terms. CoreRx submits contemporaneously herewith redacted versions for filing on
  the public docket, from which this information, but nothing else, has been redacted.


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  business in, and has and solicits shareholders in, this District and has thus availed itself to this

  District for jurisdictional purposes.

          5.      Venue is proper in this District pursuant to the parties’ Agreement, in which

  Bionpharma and CoreRx consented to, and waived any objections to venue in this Court and agreed

  to not bring claims arising under the Agreement in any other court, and pursuant to 28 U.S.C. §

  1391(b)(2), in that a substantial part of the events and transactions giving rise to CoreRx’s

  counterclaims occurred in this District.

                                     FACTUAL ALLEGATIONS

          A.      The Parties’ Relationship, Complementary Business Expertise and
                  Intention to Enter into Mutually Beneficial Business Arrangement
                  Through the Agreement

          6.      CoreRx is a pharmaceutical contract development manufacturing organization

  (“CDMO”) with sites in Clearwater, Florida and San Rafael, California.            On behalf of its

  pharmaceutical customers, CoreRx manufactures clinical trial and commercial drug products,

  focusing mainly on oral solid and liquid products for distribution to the United States market.

          7.      Bionpharma is a company that, by partnering with pharmaceutical manufacturers

  such as CoreRx, seeks to develop and commercialize affordable quality generic drugs for profit.

  On information and belief, Bionpharma currently markets and distributes more than 33 generics

  in the United States for profit.

          8.      CoreRx and Bionpharma began doing business together in or around 2017. During

  the course of the parties’ relationship, CoreRx has manufactured various generic pharmaceutical

  products for Bionpharma, which Bionpharma has proceeded to market and distribute to the public

  for a profit.




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         9.      On or about November 24, 2020, CoreRx and Bionpharma entered into that same

  Master Manufacturing Supply Agreement (or “Agreement”) that forms the basis of the allegations

  and claims in Bionpharma’s Complaint and which Bionpharma attached as Exhibit A thereto. A

  true and accurate copy of the Agreement, with select nonpublic financial terms having been

  redacted, is also attached as Exhibit 1 to the within Counterclaims.

         10.     The parties’ purpose in entering into the Agreement was to form a mutually

  beneficial business relationship under which, pursuant to their respective areas of expertise,

  CoreRx would manufacture and supply for Bionpharma certain generic pharmaceutical products

  that Bionpharma had developed, so that Bionpharma could then market and distribute the products

  downstream. Under the Agreement, Bionpharma agreed to pay CoreRx for its manufacture and

  supply of products covered thereunder.

         11.     One of the products that the parties agreed to be covered by the Agreement was

  enalapril maleate oral liquid solution product (referenced herein, consistent with Bionpharma’s

  Complaint, as simply the “Product”), which is a generic version of the branded drug Epaned®,

  which is produced by Azurity Pharmaceuticals, Inc. (“Azurity”).

         12.     At the time the parties entered into the Agreement in November of 2020, they were

  connected beyond just their approximately four-year history of business dealings together.

         13.     At that time and all relevant times herein, a private equity fund, Signet Healthcare

  Partners (together with its affiliated funds and other affiliates, “Signet”) or one of its affiliates

  owned a controlling stake in Bionpharma. At that time, up through January of 2021, Signet also

  held an approximate 17% stake in CoreRx, as well.




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         14.     As a result, when the Agreement was being negotiated and executed, up through

  January of 2021, certain members of Bionpharma’s management and its board of directors (the

  “Bionpharma Board”) also sat on CoreRx’s board of directors (the “CoreRx Board”).

         15.     Indeed, for the relevant time period, the same individual—James Gale, the founding

  partner of Signet—served as the Chairperson of the Bionpharma Board and the Chairperson of the

  CoreRx Board. Mr. Gale is the founding partner of Signet.

         16.     Additionally, during all relevant times herein through January 2021, Bionpharma’s

  President and Chief Executive Officer, Venkat Krishnan, and its Chief Financial Officer and

  Executive Vice President of Operations, Guarav Mehrota, served on the CoreRx Board. Mr.

  Krishnan has at all relevant times herein also been a member of the Bionpharma Board.

         17.     While CoreRx was an experienced CDMO by the time the parties began to

  contemplate CoreRx being the manufacturer of the Product at issue and negotiating the Agreement,

  in or around mid-2020, its experience was up until then limited to clinical drug manufacturing.

  CoreRx did not have any experience at that time in commercial drug manufacturing, as is

  contemplated under the Agreement with respect to the Product.

         18.     Clinical drug manufacturing and commercial drug manufacturing are very different

  processes, for numerous reasons. In the case of commercial manufacturing, a CDMO such as

  CoreRx is making product in mass amounts to be sold to the market on a mass scale. A

  pharmaceutical product that is being manufactured for commercial use has gone through the

  required regulatory approvals, and the manufacturer is operating on a large scale to turn out

  hundreds lots of product, striving for standardization and limited to no variance across each unit

  and lot of product produced.




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         19.     On the other hand, clinical drug manufacturing occurs at an earlier stage in the

  product lifestyle, while the product is still undergoing the requisite testing and regulatory and

  agency approval processes. As such, in clinical manufacturing, each lot of product produced is

  unique, as the process and exact specifications are constantly changing and evolving to meet the

  desired testing and regulatory thresholds required before the drug can be commercially produced

  and sold to the public. Commercial production is, among other things, far more automatized and

  “scaled up” than clinical manufacturing.

         20.     Given CoreRx’s total inexperience up in commercial manufacturing at the time it

  was negotiating the Agreement with Bionpharma, its management team did not have the

  experience or know-how to accurately forecast the added costs and overhead that it would incur in

  manufacturing a product for commercial purposes, as required under the Agreement, and was

  generally unsophisticated when it came to the additional requirements that commercial

  manufacturing would impose upon the company. Given this lack of experience and knowledge,

  CoreRx and its management team was heavily dependent upon the CoreRx Board to represent

  CoreRx and guide it through the decision-making and negotiations with respect to a potential deal

  with Bionpharma relating to the Product.

         21.     As noted above, at the time, the CoreRx Board, which by virtue of CoreRx’s

  inexperience in commercial manufacturing played a major role in negotiating the Agreement with

  Bionpharma, was chaired by James Gale, who was concurrently chairing the Bionpharma Board,

  and also included several key members of Bionpharma’s executive leadership team.

         22.     One of the key pieces of the negotiation was the price that Bionpharma was to pay

  CoreRx for each unit of Product produced, especially given that, as alleged previously herein, both




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  parties had the intention that the Agreement memorialize a business transaction that was mutually

  beneficial and profitable for both sides.

         23.     CoreRx relied upon the members of the CoreRx Board to advise CoreRx as to

  whether to accept or reject prices proposed by Bionpharma, so as to assure that CoreRx was paid

  a per-bottle price for the Product sufficient to cover CoreRx’s per-bottle manufacturing costs, and

  also represent a




         24.     The members of the CoreRx Board had full knowledge that CoreRx only desired to

  enter into the Agreement with Bionpharma if the arrangement would result in CoreRx being paid

  a unit price that was high enough to translate into                                 for CoreRx.

         25.     Armed with that knowledge, the CoreRx Board, including members of the

  Bionpharma Board and Bionpharma’s leadership team, advised CoreRx to accept a unit price of

        per bottle (the “Unit Price”). CoreRx, in reliance on the CoreRx Board for critical guidance

  given its utter lack of prior experience in commercial drug manufacturing, listened and,

  accordingly, executed the Agreement.

         26.     The agreed-upon Unit Price was not even high enough to cover CoreRx’s costs to

  produce each bottle of Product for Bionpharma, let alone to net CoreRx any profit whatsoever.

  Indeed, CoreRx’s costs to manufacture and deliver each bottle of Product to Bionpharma have

  turned out to be approximately         , under general accepted accounting principles (or “GAAP”).

  This means that, under the Agreement, CoreRx has been forced to take a loss of           for every

  bottle delivered to Bionpharma.




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          27.    On information and belief, the below-market Unit Price has allowed Bionpharma

  to earn outsized profits on its downstream sales of Product—which, according to public records,

  it sells for     per bottle. Upon information and belief, Bionpharma has sold approximately

  60,000 bottles of Product to date. This translates into approximately                in profits for

  Bionpharma.

          28.    On the other hand, CoreRx, for having manufactured and delivered those same

  60,000 bottles of Product, at a loss of approximately     per bottle, has suffered losses of nearly

            .

          29.    Upon information and belief, the Bionpharma representatives that were on the

  CoreRx Board at the time the Agreement was being negotiated and entered into improperly and

  dishonestly influenced the Unit Price to Bionpharma’s, taking advantage and exploiting on

  CoreRx’s lack of sophistication with regard to commercial manufacturing to obtain a highly

  lucrative, low price for Bionpharma for the manufacture and supply of its Product.

          30.    Upon information and belief, Bionpharma was aware that, had it gone to another

  CDMO with commercial manufacturing experience to manufacture the Product for it, it would not

  have obtained such a low price as the Unit Price it persuaded CoreRx to accept for manufacturing

  and delivering the Product.

          31.    Furthermore, despite agreeing in the Agreement that the parties would negotiate the

  Unit Price of the Product on an annual basis (see Ex. 1, § 6.2), Bionpharma vehemently resisted

  any change in the pricing when CoreRx approached it with a proposal to increase the unit price

  approximately one year following execution of the Agreement, in November 2021, insinuating

  that such a proposal by CoreRx was in bad faith when it was in fact expressly what the Agreement




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  called for. A copy of CoreRx’s correspondence to Bionpharma, proposing such a price increase,

  dated November 19, 2021, is attached hereto as Exhibit 2.

          32.     Upon information and belief, Bionpharma’s resistance to any increase in the Unit

  Price was due to the fact that the Unit Price represented a significant victory for Bionpharma,

  allowing it to pay a price for the manufacture and delivery of the Product that was severely deflated

  and under-market, allowing Bionpharma to turn around and sell the Product to the public at a

  significantly higher profit than it would have been able to obtain without exerting undue influence

  over CoreRx and acting dishonestly and inequitable towards CoreRx in the negotiations process.

          B.      The Agreement’s Multiple Provisions and Representations Regarding the
                  Relevant Intellectual Property and Who Owned It

          33.     The Unit Price was not the only term in the Agreement about which Bionpharma

  was dishonest to CoreRx.

          34.     The Agreement, in order to enable the parties to carry out their intended business

  purposes, has an entire article, Article 10, titled “Intellectual Property,” in which, among other

  things, specified that through the Agreement Bionpharma was granting CoreRx a license to use

  Bionpharma’s “intellectual property” to manufacture the Product for Bionpharma in accordance

  with the Agreement’s terms. (Ex. 1, § 10.3.) Specifically, Section 10.3 of the Agreement provides,

  in part, as follows:

                  “Bion[pharma] hereby grants to CoreRx a non-exclusive license to
                  use[] the Bion[pharma] Intellectual Property solely to Develop the
                  Products in accordance with this Agreement and to Manufacture
                  Products for Bion[pharma] in accordance with this Agreement.”

  (Id (emphasis added).)

          35.     Through Section 10.3, CoreRx further agreed that it would not “use the

  Bion[pharma] Intellectual Property … for any purpose other than the Manufacture of Products




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  for Bion[pharma]” under the Agreement (id. (emphasis added)), and also agreed that only

  “Bion[pharma] Intellectual Property,” and not any other “information, know-how, data or other

  intellectual property,” was to be used by CoreRx in its manufacture of Product under the

  Agreement (id. at § 10.2 (emphasis added)).

         36.     Similarly, in a section of the Agreement specifically titled, in bold lettering,

  “Bion[pharma] Intellectual Property,” CoreRx acknowledged Bionpharma’s ownership of its pre-

  existing intellectual property and agreed that it would not claim such intellectual property as its

  own. (See Ex. 1, § 10.1) Specifically, Section 10.1 provides as follows:

                 As between the Parties, Bion[pharma] shall own all right, title and
                 interest in and to the Bion[pharma] Intellectual Property (including
                 any and all information and data contained therein), and CoreRx is
                 not acquiring any ownership interest in any Bion[pharma]
                 Intellectual Property (including any and all information and data
                 contained therein) hereunder.”

  (Id. (emphasis added).)

         37.     CoreRx also agreed that any improvements or enhancements CoreRx were to make

  in manufacturing Product for Bionpharma pursuant to the Agreement’s terms, would be

  automatically deemed to belong exclusively to Bionpharma. (See id. at §10.4(a)), and that in the

  event of such any such improvement or enhancement would work with Bionpharma to “protect[]

  Bion[pharma]’s proprietary rights” (id. at § 10.4(b)).

         38.     In turn, the Agreement defines “Bion[pharma] Intellectual Property” in Article 1 to

  mean “Know-How[] … that is owned or Controlled by Bion[pharma] or its Affiliates during the

  term of this Agreement and that is necessary for or directly related to the Manufacture, use, sale,

  offering for sale or importing of the Products.” (Id. at § 1.1.) This is specifically defined to

  include, among other things, “Know-How included in Bion[pharma] Patent Rights,” i.e., “those




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  Patent Rights that cover Bion[pharma] Intellectual Property and are Controlled by Bion[pharma]

  at any time during the term of this Agreement.” (Id (emphasis added).)

         39.     Article 10 also contains a section titled “IP Enforcement Matters,” which sets forth

  the respective obligations of the parties in the event a third-party were to make any claims of

  infringement or misappropriation against either party based on its use of the “Bion[pharma]

  Intellectual Property.” (Id. at § 10.5 (emphasis added).)

         40.     In addition, amongst various other representations and warranties it made in

  entering into the agreement, CoreRx represented and warranted to Bionpharma that all Product

  that CoreRx manufactured under the Agreement would be “Manufactured in accordance with the

  Bion[pharma] Intellectual Property” unless otherwise agreed by the parties in writing. (Id. at §

  12.2 (emphasis added); see also id. at § 3.2 (CoreRx agreeing again elsewhere to manufacture the

  Product for Bionpharma “in accordance with Applicable Law … [and] all applicable Bion[pharma]

  Intellectual Property …”).)

         41.     In summary, the above provisions specifically and repeatedly required CoreRx, in

  entering the Agreement, to acknowledge Bionpharma’s ownership of the intellectual property

  relevant to the manufacture of the Product, as well as any improvements thereto flowing from

  CoreRx’s efforts under the Agreement, and to promise to manufacture Product in accordance with

  and respect the proprietary nature of such purported “Bion[pharma] Intellectual Property.”

         42.     Together, these provisions, among various in the Agreement referring to the

  “Bion[pharma] Intellectual Property” (see, e.g., id. at §§ 3.3, 3.5.1, 3.10, 5.6, 5.8-5.10, 7.1, 7.3)

  could only be interpreted to mean that Bionpharma held clear ownership, title and interest to the

  intellectual property that it was licensing to CoreRx and that CoreRx would be required to use in

  its manufacture of the Product for Bionpharma, in discharge of its contractual duties.




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         43.     In other words, the Agreement’s terms, and specifically those provisions discussed

  above, created a reasonable expectation on the part of CoreRx that Bionpharma had free and clear

  ownership to the intellectual property to be used by CoreRx in its manufacture and supply of the

  Product for Bionpharma.

         C.      The Patent Claims Belonging to Azurity and Ensuing Patent Litigation
                 Against Both Bionpharma and CoreRx

         44.     Despite the assorted representations and references throughout the Agreement

  concerning the purported “Bion[pharma] Intellectual Property” and Bionpharma’s superior claims

  thereto, in reality, the manufacture of the Product pursuant to Bionpharma’s specifications actually

  infringes, or at least potentially infringes, patent rights that are validly held by a third-party,

  Azurity, as set forth below.

         45.     As also detailed further below, Bionpharma was, moreover, already on notice of

  Azurity’s competing claims at the time it began negotiating the Agreement with Bionpharma in or

  around the fall of 2020.

         46.     Azurity is a specialty pharmaceutical drug company focused on developing

  medication for underserved populations, namely pediatric and geriatric patients. Azurity presently

  has approximately six (6) FDA-approved products on the market, with approximately ten (10)

  development projects in its pipeline.

         47.     One of the products presently manufactured and marketed by Azurity is Epaned®,

  which is the branded version of the generic Product at issue in the parties’ Agreement and in this

  suit, and has been a brand and product many years in the making. Following nearly a decade of

  research and development, which cost Azurity many millions of dollars, Epaned® represents a

  unique solution to the decades-old “pill burden” associated with oral administration of solid




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  enalapril tablets as well as the patient safety concerns that arise from compounding such oral

  tablets into solution. In fact, it was the first FDA-approved ready-to-use enalapril solution.

         48.     Upon information and belief, Epaned® accounts for a significant portion of

  Azurity’s annual revenues, and was its top-performing product in 2021.

         49.     Azurity owns a number of patents relating to Epaned® and to oral liquid

  formulations of enalapril, including U.S. Patent Nos:          9,669,008; 9,808,442; 10,039,745;

  10,154,987; 10,772,868; 10,786,482; 10,799,476; 10,918,621; 11,040,023; 11,141,405; and

  11,173,141.

         50.     In or around August 2018, Bionpharma filed Abbreviated New Drug Application

  (“ANDA”) No. 212408 for a generic enalapril oral solution product similar to Azurity’s

  Epaned®—which ultimately became the Product at issue here. While Bionpharma’s ANDA for

  the Product pending approval with the FDA, Azurity’s predecessor, Silvergate Pharmaceuticals,

  Inc. (“Silvergate”), sued Bionpharma for patent infringement, alleging that the Product infringed

  several of the patents identified in paragraph 27 above, in December 2018 and in June 2019, and

  Silvergate brought another such suit against Bionpharma based on another patent in the same

  family in September 2020. See Silvergate Pharms., Inc. v. Bionpharma Inc., No. 18-1962-LPS

  (D. Del.); Silvergate Pharms., Inc. v. Bionpharma Inc., No. 19-1067-LPS (D. Del.); Silvergate

  Pharms., Inc. v. Bionpharma Inc., No. 20-1256-LPS (D. Del.) (the “Silvergate Suits”).

         51.     Each of the three Silvergate Suits was still pending as of November 2020, when

  Bionpharma entered into the Agreement with CoreRx.

         52.     Although the Silvergate Suits have by this time been dismissed or resolved in

  Bionpharma’s favor, Azurity has a number of other patents related to Epaned® that were not at

  issue in those suits, including continuation patents that were issued to Azurity only in 2021.




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          53.     Accordingly, Azurity continued to prosecute its patent claims against Bionpharma

  in relation to the Product in 2021, after Bionpharma had received the ANDA approval from the

  FDA and accordingly would begin to sell its Product on the market as a lower-priced competitor

  to Epaned®. Azurity filed one such suit in June 2021, based on Patent No. 11,040,023, in the

  United States District Court for the District of New Jersey, which was thereafter transferred to the

  United States District Court for the District of Delaware (the “Delaware District Court”), and

  another such suit, based on Patent No. 11,141,405, in the Delaware District Court in October 2021.

  See Azurity Pharms., Inc. v. Bionpharma Inc., No. 21-1286-LPS (D. Del.); Azurity Pharms., Inc.

  v. Bionpharma Inc., No. 21-1455-LPS (D. Del.). Both of these suits remain pending.

          54.     Given that Bionpharma had received ANDA approval for the FDA for the Product,

  and could therefore begin to sell the Product on the market in or around August of 2021, it began

  to place orders for the Product with CoreRx pursuant to the terms of the Agreement. Based on,

  among other things, the non-disclosure of such litigation by Bionpharma and the various

  representations throughout the Agreement as to “Bion[pharma’s] Intellectual Property,” CoreRx

  began to fill those orders pursuant to its obligations under the Agreement.

          55.     As a result, in October 2021, CoreRx was also sued by Azurity for patent

  infringement in actions commenced in the Delaware District Court and in the United States District

  Court for the Middle District of Florida. See Azurity Pharms., Inc. v. CoreRx, Inc., No. 21-1522

  (D. Del.); Azurity Pharms., Inc. v. CoreRx, Inc., No. 21-2515 (M.D. Fla.) (the “Azurity-CoreRx

  Suits”). The Azurity-CoreRx Suits also concerned Patent Nos. 11,040,023 and 11,141,405.

          56.     The Azurity-CoreRx Suits exposed CoreRx to tens or even hundreds of millions of

  dollars in liability to Azurity, given the damages that are available to a patentee against an infringer




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  for acts of infringement under the United States Patent Act, 35 U.S.C. §§ 1 et seq., and the manner

  in which such damages are measured thereunder.

         57.     Although CoreRx reached a settlement with Azurity with respect to the two

  Azurity-CoreRx Suits and entered into a corresponding settlement agreement in November 2021

  (the “Azurity-CoreRx Settlement,” a true and correct copy of which is attached as Exhibit 3

  hereto), it still has severe exposure flowing from CoreRx’s Agreement with Bionpharma and

  Bionpharma’s bad faith conduct with respect thereto.

         58.     Specifically, although Azurity dismissed the Azurity-CoreRx Actions pursuant to

  the Azurity-CoreRx Settlement, those dismissals were without prejudice to Azurity’s reopening

  the Actions at a later date. (See Ex. 3, § 2.1.)

         59.     In exchange for these without prejudice dismissals, CoreRx agreed in the Azurity-

  CoreRx Settlement to cease making, using, selling, importing or offering to sell the Product, but

  further agreed that, in the event it were to re-commence doing any of those things, Azurity could

  pursue claims for damages against CoreRx stemming from CoreRx’s past as well as its forward-

  looking instances of infringement. (See id. at § 2.5; see also id. at §§ 2.2-2.3, 3.)

         60.     CoreRx would not have entered into the Agreement with Bionpharma had it been

  aware that its manufacture and/or supply of the Product according to Bionpharma’s specifications

  would expose it to infringement or misappropriation claims of a third-party like Azurity, liability

  for which would likely substantially outweigh the benefits (i.e., profits) that CoreRx expected to

  gain by entering into the Agreement in the first place.

         61.     Bionpharma’s bad faith conduct and implicit and explicit representations

  throughout the Agreement violated the entire spirit of the Agreement, and the mutually beneficial

  partnership CoreRx believed it was designed to achieve between the parties, by creating a false




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  impression that it had free and clear ownership of the relevant intellectual property that it was

  requiring CoreRx use in its manufacture of the Product.

         62.     Bionpharma’s conduct has potentially put CoreRx between the proverbial “rock

  and a hard place,” left to choose between a course of action that would potentially expose it to

  liability to Azurity (continuing to manufacture the Product), and one that would potentially expose

  it to liability to Bionpharma for breach of the Agreement (discontinuing its manufacture of the

  Product).

                                       CAUSES OF ACTION

                                          COUNT I:
               Breach of the Contractual Covenant of Good Faith and Fair Dealing

         63.     CoreRx realleges and incorporates by reference the allegations in the above

  paragraphs 1 through 62 as if fully set forth herein.

         64.     In or around November of 2020, Bionpharma and CoreRx entered into a business

  partnership intended to increase profits for both parties through combining their respective

  expertise to manufacture and distribute the Product to market. The parties memorialized their

  arrangement in the Agreement.

         65.     The Agreement, which CoreRx and Bionpharma executed on or about November

  24, 2020, is a valid and enforceable contract between the parties, supported by adequate

  consideration and governed by New York law.

         66.     New York law recognizes that implied in every contract is a covenant of good faith

  and fair dealing. Accordingly, a covenant of good faith and fair dealing exists with respect to the

  parties’ Agreement.




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         67.     CoreRx has fully performed its obligations under the Agreement and has acted

  consistent with its inherent duty of good faith and fair dealing. Any deviation by CoreRx from the

  Agreement was justified by the actions of Bionpharma.

         68.     Bionpharma’s conduct as described throughout these Counterclaims has been in

  bad faith and in breach of the Agreement’s implied covenant of good faith and fair dealing.

         69.     Specifically, Bionpharma presented an Agreement to CoreRx containing numerous

  provisions concerning, and references to, Bionpharma’s superior title and ownership of what was

  defined as “Bion[pharma] Intellectual Property,” and that explicitly required CoreRx to use said

  “property” in performance of its own contractual obligations, while knowing that its title to the

  applicable intellectual property was in fact the subject of ongoing infringement challenges and

  potentially meritorious infringement claims, of a third-party.

         70.     At all relevant times both prior to and following execution of the Agreement,

  Bionpharma had actual knowledge that CoreRx would expose itself to patent infringement liability

  to Azurity by performing in accordance with the Agreement, thereby knowingly jeopardizing

  CoreRx’s ability to increase its profits—the very purpose of the Agreement—and in fact put

  CoreRx’s entire business at risk of insolvency and, consequently, a need to shutter its operations

  completely.

         71.     Bionpharma’s conduct as described above has thus deprived CoreRx of the benefit

  it bargained for in the Agreement and has defeated CoreRx’s reasonable expectations and the entire

  spirt of the Agreement.

         72.     Bionpharma’s aforesaid conduct was knowing, deliberate and willful.

         73.     CoreRx has sustained damages, and continues to sustain damages, as a result of

  Bionpharma’s aforesaid conduct and breach, in an amount to be determined at trial, including, but




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  not limited to, fees and costs associated with the defense and settlement of the patent infringement

  claims that Azurity has brought against CoreRx.

         74.     Further, Bionpharma’s opportunistic and dishonest conduct constitutes an

  extraordinary showing of dishonest or disingenuous failure to carry out a contract and therefore

  subjects Bionpharma to punitive damages under New York law.

                                            COUNT II:
                                         Unjust Enrichment

         75.     CoreRx realleges and incorporates by reference the allegations in the above

  paragraphs 1 through 74 as if fully set forth herein.

         76.     During the negotiations of the Agreement, Bionpharma, through its representation

  on the CoreRx Board, exerted undue influence over CoreRx in order to convince CoreRx to accept

  a Unit Price that was financially detrimental to CoreRx, and financially lucrative to Bionpharma,

  without compensating CoreRx for the same.

         77.     CoreRx agreed to that Unit Price—a Unit Price which not only cut into CoreRx’s

  profits but further caused CoreRx to take monetary losses as a result of entering into the

  Agreement—on the understanding and belief that the CoreRx Board, including those members

  who were Bionpharma appointees, would discharge their fiduciary duties to CoreRx and advise

  CoreRx in a manner that served CoreRx’s, and not Bionpharma’s, best interests. That did not

  happen.

         78.     It is against equity and good conscience to permit Bionpharma to keep the

  quantifiable benefits—that being, increased profits—derived from this conduct, at CoreRx’s

  expense.




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         79.     CoreRx has been unjustly damaged while Bionpharma has been unjustly enriched

  through Bionpharma’s conduct, and CoreRx is accordingly entitled to a portion of CoreRx’s

  unjustly received profits, in a sum to be determined at trial.

         WHEREFORE, Defendant-Counterclaim Plaintiff CoreRx respectfully requests that the

  Court enter judgment as follows:

         A.      Dismissing Plaintiff and Counterclaim-Defendant Bionpharma’s Complaint in its
                 entirety and with prejudice;

         B.      Denying and each and every demand and prayer for relief contained in the
                 Complaint;

         C.      On Defendant and Counterclaim-Plaintiff CoreRx’s First Counterclaim, awarding
                 actual and punitive damages to CoreRx in an amount to be determined at trial,
                 together with interest;

         D.      On Defendant and Counterclaim-Plaintiff CoreRx’s Second Counterclaim,
                 awarding damages to CoreRx in an amount to be determined at trial, together with
                 interest;

         E.      Awarding CoreRx its costs and reasonable attorneys’ fees; and

         F.      Awarding CoreRx such other and further relief as the Court deems just, proper and
                 equitable.

  Dated: New York, New York
         March 30, 2022

                                               Respectfully submitted,

                                               BUCHANAN INGERSOLL & ROONEY PC

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 30th day of March, 2022, I electronically filed the foregoing

  Answer to Complaint with Affirmative Defenses and Counterclaims of Defendant CoreRx, Inc.

  with the Clerk of the Court via the CM/ECF system. Notice of this filing will be served upon all

  parties by e-mail by operation of the Court’s CM/ECF system, and parties may also access the

  filing through CM/ECF.

  Dated: New York, New York
         March 30, 2022

                                                      /s/ Peter S. Russ
                                                      Peter S. Russ
